    Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 1 of 45
►

    WD
                                                        ED
                           IN THE UNITED STATes-DIN   CT COURT FOR
                               -THE MIDDLE DISTRICT OF ALABAMA
                                            1010    -b A ILF
                                                        P. 11AU,ETT,
    in,666tch
    Full name and prison
                                                   .S. DISTRICT  COURT,
                                                  '1IDDLE DISTRICT
                                                                    ALA
    Plaintiff(s)

    v.
                                                 )
                                                 )       CIVM ACTION       No.ore20 - -Cuat.7-
                                                         (To be supplied by Clerk ofU.S. District
           n    DWI CP1,1;5Siong                          Court)
     AFIVATKICIZ        GMAI
    liKiifft-Zi."1,Y2rASMI,C11=1. leefrOvii
                 Ner,OLE'Mar                     )
                                                 )                    DEMAND FOR JURY TRIAL
    feggigrACIP
              I                                  )
      ame of person(s) who violated yoUf         )
    constitutional rights.(List the names        )
    of all the person.)                          )

    I.     PREVIOUS LAWSUITS
           A.   Have you begun other lawsuits in state or federal court dealing with the same or
                similar facts involved in this action? YES ❑ NoR1

           B      Have you begun other lawsuits in state or federal court relating to your
                  imprisonment?    YES El        NO

           C.     If your answer to A or B is yes, describe each lawsuit in the space below. (Ifthere
                  is more than one lawsuit, describe the additional lawsuits on another piece ofpaper,
                  using the same outline.)

                   1.      Parties to this previous lawsuit:

                           Plaintiff(s)
                                                      4/4
                           Defendant(s)



                  2.        Court(iffederal court, name the district; if state court, name the county)
Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 2 of 45



           3.    Docket number

           4.    Name ofjudge to whom case was assigned


           5.    Disposition(for example: was the case dismissed?
                                                               .  Va)it appealed? Is it still
                 pending ?)                                    /1///4
           6.    Approximate date of filing lawsuit              oe/n

           7.    Approximate date of disposition               N)
                                                                /
                                                                1 9-

      PLACE OF PRESENT CONFINEMENT            Pmore Ceri/ec.f;(?.                 /


      PLACE OR INSTITUTION WHERE INCIDENT OCCURRED 4fecrsry Cewedicylea

      foed
      NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
      CONSTITUTIONAL RIGHTS.

           NAME                                        ADDRESS

1.    3-tia-T-ef_Sor alM -4Adiefime Coiledibn5 CepsinAsð'unw
2.         A                         1,11             .,
3.    TharGhete &gfjer5-9/4/ici-_9it64 hio4/1,
                                             4,9vaiaos/50
                                                        1- /*Az*
                                                               06.

4.    Clutrile 04b/--ca,mio

5.    Mary Coolcs--firmoe wa/cle/‘ ie
                                    reer                                       Kt/
                                                                                 4W 14.--/t44/itA- C-4
6.    CD,
        /Lon N6W/CALCVOICW-5                          AvirWRedkd &e440444itit
IV.   THE DATE UPON WHICH SAID VIOLATION OCCURRED                      ....fetcory 9/1`
      0,0/
V.    STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
      THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:

      GROUND ONE:              I6eyde                   Weyafe_ce

             ofitri/   yatids dtevi                                       //eakir
Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 3 of 45



STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
time, place and manner and person involved.)




                        ,ec/e Ceve/
              fa9;te.,e,0
                             rol &Cf 4
                                   i       47a/—71
                                                 01      k 67-4/A
 ,s/r.c_h`
GROUND TWO:




SUPPORTING FACTS:

                            fb&c4eci 7e,cy,t1/,



                                                                   r

GROUND THUM          See-            /AC..-iteC
                                            (            /ea.




SUPPORTING FACTS:       "   (-7 tc' inf*--(i.r461
                             )                       /(*gt-62-1,
Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 4 of 45



VI.   STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
      MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.
                                                           et_apne
        5eto p/eal        9I
                        1;1   -ASS 4#0.chei           7L--

          dechtc4(4
                  ) /y-tei          -111)
                                        -(4 cli-riireve.i)TeA
       ivid pi a Aehtk           e 5- /rezdevd ec6497)Ta-
      -41e fiitoytdoilt&I,r_4fiIpen 51i.kry And /01.44/74V-e.
       dcumil.e,s, Add otu                       laleote* oze-yeath-
               )4dade aa _z-dec./.0„e 74/-34,---tate75-efeamecee,„„kerf
                             714-   d    a-  te             ) 1/-..)7/40-
                             Signature of plaintiff(s)


      I declare under penal ofpe -ury that the foregoing is true and correct.

      Executed on    /R, ot.3 3-0/?
                          (Date)



                                           Signature ofplaintiff(
                                 Up;1-- SI--i-es a ,
                Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 5 of 45
                                                              .
                             7,, .-h, F--(='/
                                         , - -I- c.,t of'hviatm
TyN i acIve   Ch        01 -17/A)7 -1,
                                                 Ca/4/14i4.1.                                  -10-CO__-__OC*
               laibii&icea             '3
                                      /?

                                                                              ginS3 ze, -s,-
   Vi                                                                            › tr,.,_____Fii
"t              4i    C-4214
                           -70)1e,414,               W C2/Yerikl
                                                               4 S /1,61         .•    I       C)


                     ' S50C;44t       Commissi'4016- olhi_edth 69124. ..1                      <
     ke
      l,             :A... .,.e,___ .,_ ,,   _   _cejtii   Seil4CecAealoi6
                                                                                               rri
                                                                                           SA761(1 a-callif
c       - 4,         AYCriZ.On           (-5,14
                                              /,C.         WI
C)udi 4          _dit - Cere4ed R,`,,dereliitige AdilizrneK                           al____


idedA     I         (
               eiii4,v  5,/Lc4
                             )  c.,,,,2.0, ccrizpl  DEMAND FOR JURY TRIAL

6/4/PL-. Mti                 .4)(4<cflIkielident_Deler e-WOZBOidet_f raCi                            a_64._
     or L , aczti Serfrrc-e-s- -c.,6-6-04-446, - Ac tairi le,.,,/%-z,6 Asfi,
                  oci-emeiel/ k- idir4 P         e/ _,_ -4 10LI      I -Se


               1 Om r 1 n _i___s aš- C'       `4
                                               . Y3 Or)Ply e.)wrt___L6ehai    ,
              414_,A(mw5) cim,-kd ;11 16LAI`/Aeit—c-A4 ;Acii-,e/i'l
              ;ricA(ceieafetliietaie_aitd Li...ei_illi'Lky i/r-741 -Me,4,4,/e
              and pin0cectuts_f_5t. --iiie/e&ei,2- i/eir,es-/- Z61            1,
         a___ __a,11 ILtiort Isuksettedfkadr,   4 5 a iCoud 4)14)!"5-
                                                     6
          .-1 iao ii 6cf.4____547'(. 44,         '
        (-?-) 11, -.C:4, pfi)--s iirh:9e,A ,st,i_cis air 1-1€0'4____41e5c
                                                                  ,
                         Strif,BerLsiulietrci -thviiiecu-e-101,44ce ktc„
                                                                      ),:_,"
                        flei 444,3___v,_Reril              Wo_45,1_,C9'/___   (Z5.?_i_JZ11
                                                                                         50Seri
                        Bk.d.lillia   elcbtle_Cairk_ri3t4141066 V.Sf.&2(‘W)
                             71 .4, a isidd cowl- .1,iiiiicil hoas pa,_se
                              Pi:-__g_ elf .1).1e, 4aelle_______d ¿ as a 7i-tali/led
                               ft 6,11,, a  iity el0 4.9,Ko_aiiiely t6&i:4.."
                             Meig-104 uLelii14 -6oz_femititte iv froseca44
                                      p ctij__Qfi le 00)
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 6 of 45




                7-h;s (.0tAir$e Coe QA,Mat ilotrovevt       (Anlos Pie . _.
               court ;s - wiii;43 ii___
                                      5              10/0-se 111-lients
               ..iiirmi3O_71-1.4.- -         I   Å       ivkLietz40y or -/-0
              Alto,fiem .103 i          -III. ,         e ess ,544./ /-1/e
              01,61-Ade.51;4-sad mti- e              rilmce bzo_cei<dril
          hAojiers 11•Ajc.6 Metpy ro-sc //ti -13 ;#1-mtve
         de4lcolty..suctwod54,9_wiWil ,aelft a .sts.6iic,e
        .0-cou..145e,CR,/ i ;645  , i-983              /8Y1/Pt6/14C410'.
                                           i _ ,,L;i2d ,
 (3 CL, I I&S Albr3 aIffh his sympons As desc./46eci ;i1
    Ale r-A2         hi,__Aecepiflyif&ed_a_.siroke D-4_644-1 xi     , /
    56 he ke*1 u1(               515 74-1,a4 heLeaffec       ,064
        to /piroceed ;i1 Aepiesed cbre.it,5Aer.a,,d/a- -R,14,
        0- ilie ioe-1461)),Also Ae cantiof itii         ecL/-he 17,e
        tur;ters_ate 4074 -run-No/2;4, ;ii Ae /eAtd ili.(
                                                      ,A, 7
                                                          ,   041764
        iLa.d-Wettclit,6ele j

                   ZT 5tAri"sci;
                          -                      A    V6&(e-e,
(c-i;           71); irs 4 Cð'I/š/      aCgail_ACCHIRii Zee( h'y
        144Q (4,S C, šedidll)?g3
                                 /Lo 14
                                     '
                                     --e4--
                                         e'5            74Ae-de,--4
         bbiloMir Co /oy of Ade Acu 614(6,124 j, of//‘;Ci h tc Seccireef_
              -file Coild-irtaiion_o-E >Liteibilied___4165,2AZ
        Couii- . ag:    )- _c.tirille17:,;_eclAdel 1,4-1( -Se±c-koo /S31
        afid /3y303L6iii-kfte.se,ekg deci4mi-e99. re//eP
          pui.5(44 .1- aSs .S, CI. Sed/cipi (oi_41-S ca_o_i

                              pa )01Cyo)
            Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 7 of 45




                                     ckikpmAim 6/441/115 Ar ir8g,i4d-we r6//er
                                                , •          'a                         ••• 11,4 1.•   ',or   •••-   -••••       ,
                                                                                                                                 Is    .".or



           A hci   Pmie (9,S          of 4, ,cede,af 4,,de, d Cuff i°ce)e                                      cc
                                                                                                                /6,0r
                                                                                                                    e ,


                                                ,....     .z..




                                     ,                             .                                      .             e    ...




                                                                                                                        ......   i-   . i. _--



                                                                                             .,„_)
                                                                                                                                           ..e


     4
                                     ''.'.                               j                        •                                      ,• e.
                                                                                                                                 e               .



                                                                   . 4




( ) TAe
 47                      Difs46`ct
                                             Cadvi.---drhe,"tci/e                 aarid;of /94,64,44
           ;5-ctii.A,pprollAsevei)ue- vilderzol6 11161C1-./391(6)0)
     i,!   bec4use-Ii+ :6 1;ohe,r.e;:-Ove ;ei•Len-13:[
                                                    );o'n:y1Se izs ihis
           CL;Altr.L.tniedi
                          '
                .   1.
                                                                                .,           .., .
                                                                                                   1

                                                                                , .,„.. \,,


                   ( p                                                                        ,.,
                                         -      /41 ll4LcS         ' ":- r
               : )         -                                                           ,r-                    .


()                Atitt4i-K(
                           .- 11 P1 cluielfLktiet• /kla0 -,./t_:_a',5 - h_cva.s.
  e. d-- it /V 4;141e5,0ten4iotiett'=heceiti                                 i .ct•   5
                                                                                      .-fetie:--
                                                                                               )
                                                                                               (-4,
                                                                                                  4141e/fiz;_
                                                                                                            fs,_



           a
           '   )dhe gal-e - co--(14_164.4_;ii                          Me
                                                                                  c6.i.siocly_ol---Mc



                      Depi-, e5-e Ca'fr.e.choilsi/e -';5 t.ariGAed ;_e fkoiee
           Alleige,041A        --.




           Coffecliotuffac;k-ty, ;11 64
                                      - 1101"e//1/
                                                 4„,..4(keLte
                                                 * ), I
                                                                 1_01E05)
    Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 8 of 45




               sit:___DeLieliailis

   pe4heitirri-      -7&-rfer.5.04 Anil       Ls_cwien -         -ii,,,,e
   Coktooli 0-rAe 491aYkiecke/40-te Cairiec.,41ori5y                    He
                                                   i,4.1e)
  fis /eyall fe6fails;bf -tc, 71ile, eith/e, /94,,oef
  auecfions And Ji-,5 oioefeApuz 1--/ ;c a/so /e:ed*
  fC,5_12ogse        - /EAC__A__e_AL,Aaite/caiTe of a//
                     6
  1441445     stikietui'd,e   frfi Ao446,iš '      /-1.50


                  PLAAjlii       di   is A e ASoci'ak Coiffikeese
  4-e 1:1--adin. 51)e- ir,g /eyorls;bk Cor Wi~e. h4//4 ani
  alle_i&eofall /rnifivrie5 ift 4,4016S- cus/Ociy e/Ac(
  CoUf51.e 1,5      r cd5c. &5  ,61,/1916k A6tt al/ of 446,e/s
  him.;_daizzaf4)uldi"ootts are -66a)effci-±_all (,24,14q-e5
  itahReallleiZateilid                Sici-eW;de/d/Kaely,94 a/
                                                             4
                                                             - e,
  he_ajlkiatied_ChideS,

i) DePelAdiat* Alieltelf5A36Y5=_41ileinc/ lai/IS -7/ e,
    eidA SeLoce.5 Nek, 51ilia=6/p.      akg_k_clOil GYLe‘:6,1aAcith4
                                                          -        y25_
                                                                     -
    etkiPiCaLe116-1-ie, du/y cva_s 74)pirs-e_a__Ae
   Fettedtm_40e I--tte Aleatiii ca(e. CiAii as cose..ff
 6,s any 9ritic aftd 5irc, cAll ,S-scis, Sht (4,a,3
 -                                                         edrer*___I
  frer1411 4071-eci iii .0eeps/tbeir( 4/7- ,-7Cr a//eyeA, ci
 cLuAleflis aielci bther i:sstiei, •

                       ioa9 64) ol(L/b)
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 9 of 45




(1,1
  ) De-renclAtvi Chodle tat_i6/-W4.,c 4Ae ilieileet/ fize4e,
     4 P4/4fiffCAriewi.,517e ir< 4 cadge"i'i:deeel
      Avse Atcfirtforie,(Gg.41_0±-41.5A-e, cva,.5e*e_ciir&/
          C-i-I*Ifil '    i L____yi//Ee..,5 A‘e-ierriej illeck__/
     Su6cozdzati_o/ .A___*__,C &k,74vci /9e4/14 /oce .
     ofree Ae con-inici.;n apreA'intot          iligr/0" dotO.
       Skta dirciA4 zemeiiii God')'11 eori'-z_46/1 arid r:5
     nti())__14  ,7_ed__. tdexclid ed- 51-aivit's Xleal/4      -
      Care 1,1Átf-- /0        LePL,(5-( Me ,41    ,1 i97,"
      Kikit,c1 ledge,: ,:, •                  .
        . _ ' .,             •.•,,                     .,,,

 03)DPr,rei___Cofied,'
                  may ccb45 bias 41ie Weveierrol--
                     0yollacere:fiiiii;4761%C44diluiti
                 ''61$--ell-lhadceictizi__442Aen ike ii,c/cdeo)z
      ah_d    leJui_y_occdajfej, SAe axes feyons;b/e Cov
      0reit___=&410_&17( pler     n,q,ci./40
                                       Ad//;/.-e
                                             c,t)e. e 1)
                                                       ,
                                                         heed*
                                                       Icleci
      60_1(ALered /Andes
      Ppeft_,_,Digelucts doscd___/icit doi-Ei lue A)
      ebizero Aleel,frAl_ccyjcili    ni,eAce_es-g___es-___6b(eikkuil-
       Aa_y___62.04.5 %S Aoi.u___Clicv/01eA 6esi-- /e) /%141/Ers
      _keloti,J _e.„.iaiT ,ioad_ar_ALLyz_echaiiiki_Fmciii
                        ,eykyed 6y____/),6o,. C eel- .ho
       ,.___,c./   ,              ,         ,., t                           '‘.d




                         10Ce     5)        &6)
   Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 10 of 45




)MedIsal
  Defekdoi-                   filechicAl
                                    aC
                                                ,5 1-4c
                                            e,,ic
                                                 I //I
           Suivconik
  aol6 cAle_6_)-he        A )-           4- Fir,
  bleald fices11-11, falet,s 6,4- ;the hrivie 61 . ,--.!s
             4-'-'cit);4111 l'Iiinia, CAlArrli,j/7-4 YA.e
  CoK-Ifiqc-1'
  Ae dicd cae d A AO, e, /r/inies -3.471i)ca.
   ri[-Ps  /0   sysbc" kieX4(d eselLio(2.)
             /irL 60


  hold6 itud- ✓meaCca/ coiriie

    P14/),-;ff CAA,             -e erves             hf .71D a d
  dker alleiad al_e_edidevni:s 17Eddifit__
  del/                          b\                 '
          AfAj    SYroAe croxii.en4iely             yeAlc,,se,1
   /916 httis_afier
  C11;e7e- der4eiclidtb_;7            C                      Cl/C (le/efi
        4v-e         4:44-.6,14 ;42.* /1'64 &eel/Ike,3Ls:1.20/7 ag-e)
  Chwie_644.46/                eftised
  ih-red;o4s                   w a eve4-1:5 / teAle
  fAe                                 otrek_Mthw/
                 n_e Ce,6
                        )r-aty -
                               76 4a-i4le         C-41
                                                     4Z.2i/I4

   The .iteofi-e. ba,tedi ed    z;.4lx 6,741 c;0
   by (11(1., neo ,ktit9evii,,MAJK              4_h_ctAD ,,e,formei
           swyeri,                 (
                             clotit_a                  (7 s_w,zi
  1)0 ti) d -/Ir* Chu         cu;11           e_ e
              Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 11 of 45




        W 6. cid acia;-i-iom cielrea4ditirg ai-l-kild-                 74414e


                   .111, Pac-13
       ci7 SeteTh5-eyeivicl
                   i's ie,,(A.&‘/./ siris wiffh Diroli4fre P?i'6h ek
                             e 5A e wa' sarecky ef410-05, 44 L.5-1-&614
           . Cof/eclibned   cacd,fyis 1-72at4Cide (44#1‘f; rA;5 /led/4 Ci‘‘'`e
    ritai) i);1- saver/ Sialcm ac,/, -/,(c.i14IF/Awe Grf.(hc-eAc;k ,1%,?
          /mile.) dowii hiettrudi fiag_t_Lee wozkeeda/ 3or y riik      15
           Gi,ch)     ci Ayet___Co/ed ithlai_Zicti/;?    '  i-t /4,24;cir
           i 5 7/5_k_Lileil ,4 Livii -716 94.,4-0/4 itoi6,C6essel.14/4,4
                al& SeLthro.#449 •ie -71-cdoiaiis,ic/ sick i         ,eosolfrlee_i_t___
                   1— T
                                                   r erlikle/71.
                Io/lic, CALe_alli eye___Cliel_c_irii            5
                        :
              _eft Gef0 ei LOyar_e/_C.1E ,5, Cb4yoe/      ;it 7i4e myrilidise
      015       41141her h 6e_e-A                &_y_co  -/
                                                          , cF__s;i__Ice
          412iir/ <DOM 1.4_____cernhec .:Z/iiI tlie e      ye_ dada.                    A,
          pul CllairiAm iA A> etre_sc.03 ery 16/ Ca4414d5-
                 On   IA,),,(41-
                           f4x,d4ziax..c$1/ 1 then medial &vale,- -CAA"
,          lijarcy &rneffe ‘io1d pie Ai44- Scpyfy onL ill/ Pd_ye hed c-6cen
                                                                       --
           dem;cd. 5_re___A.4, Wei '- - , -- ...,• /), AYi ce eci4d i..,-
            (i-
              ) OkS th&:. Cc:A.41Y\ A,_Lii#452:         ,a)
                                                          ,-.C",r-Afi ifr)
            _h_gzeizt
                   ,,
                    ;Ice (44Av a 5;c4 cdi -6ee..etitse T a26,6
            6- clesi:ot rviðae acx.4.4 ofty he_4414 (eve_ And 5-ALA) d-
              ____red,:adm+1 Ofi___,:f•ho izuvr         --kea '        1 . -.k,    54
                                                                                    ,erf-




           fr   at147Xire;A Offetjted-L
               ----
               _sl c k    c AU tere44
                                    (
                                      i rerorSeei Ctiilt4 t 1/
                                                             1/616€ SU 4,7;11-

                                      0(Ai'''f -1-)4-fier Z__5- -_______1/2CL(Ky

                                        -71-d 6'0
                                   Pli-e4
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 12 of 45




 0) r11 cle-A,i1 5/A4(  ',#46Lei a/eale,. &en de,v'eci c_cACce4sE
        Su ebt         e - .(7n 9 3X2c.pl Jr -Sew &Piael-exi
        a 9r;eovice erye," ,,,J Assumed copeiand hekd deer;ed /7--
   RA04_?iri     -/A e pei/ð'ous 9/-)elialicei-Thv ,a#446-e_arifeed:6
„_____ hAck- d- /%44- ;1/1 dela;i c;-71-14 MD,Ci 4   5,4 .-;(.74,S 4.--7Ac.,
(.20)       1'in A,55t."011 Ae_____t_e- „j1- co4„6 5;,),,e_i 6y L 0.2,!_as
      i_ c-644 if cierntrit_zrai 12ee 40,,V,iy_at_19-/.284),JAsTi5,2d)k,
      ,r
      1- eilitne
      '                                   ,..suijefp bi,e1 71/1e._ Medica(4/e042,-
      d (See Exh;,-4- d)a/4 ii-we) c&xs /ede/ ,.ro_)eff-eci
      zweel,b . -4/-Defi Ac,0 .'o be tirlwei,../e 6414,4•___CLareiewlet
      ond he, 6-4-A-1-;(4.,_,she did noi-Stony Ai yse,c(9_,f_y No"'
       G~id 6 0 g)          e- a-             i'evrnef,/e ee 61-k/ i'6      ki_l_c
            , a fie,            co oraAfted oil 96669/5: ttiem ,j-
           11,,,,,ed Ae____ ;-cied.j&A„;i1 figoict_CWibieS6C5 iiA14-1- the %0
           oke- Ir         EX410,1-.1) šive czt/med dotAm Goon 5-64e1
         SI)e_14.ths.i /d re_si,irkpii4 Ay be AeiPse-I--r 6(±1 74?,i474-//n .,a
           ;_c.k Co,i L i d:d              .7‘ ./ ..„. coY6 itio/ese
        an--p-o-+---;.in_apt911.cv j-i/lc`440/ .- .2AAo/s-- ci
          ii,142/4/ IA);./-41 AA. /ert5ei ok          i.4,,y, -E----11-tei
        10&14-- ;in a 9tiEvevloe    r9P ‘11424/4 64.)A no re_srbeift-,
              -crui.j11_4.6 eif2p_elicL4.11_11-lue bilVetete_e_04
          S/th-0/4, al15 vt N6    Aes,,ovii6r
 cQ              4 Li4ida z pb-/- ;i_j_afit,e,r itieyev/tcce
                 (--E-A0-0-a ri) I
                               to,ellio-( &-)
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 13 of 45




  67M.    5-1-ivhiNT ('' GfiLve' p. l'-iil'i--/- ,(eiz_-ce,,t6- 4,4d_Zethet4X 1.4
              _ciektivic-e ,t,,A kro ,n5e' aind               74.nee ,e9.,'&0‘
         tili icep lit ot,(61a caif , MALL                 016: 47ref„,(r.
        hail -tult r_LQ:ce,yitisv Jid_cor           /7,0/-- c,opciees
 (Q.:3)-           a,51-ai-ed.44c( mol-er r:ed• K-4e- k20,40:5 -54e
                                    , .z--,deci fed ec.7
                                   ,,
      u.)ik.6 loa,Hikif fir .-744/0c,                                 he„   ,
                                                                  5L).'ot/ei,

               /ic_', 'aiul-aheote Cotivilifoher_____.'„I'Ex#'640yzam '
                              -oajei/e/e/ ./11-6freirl "A)507. atz /
              h'i'' ./`3ihi.-4/                                    - -he' e//`
 f ,--:`-:/:_ 'S e.:_1\a/1_1*71/)   7 .1 /he -)/1-Y'oeif 74.
tt-1)               • f-ct)dii . /) urni,er to/-71L4c16.(444 h±6v,oi> '
                  or               ,Z7      ,ii,d__-_:Af___,_4(:r kbif _r_LC1.0015v•
            ,,.. .     /:014      1-k    re"_eitio‘dted me & 61‘0r - > : . - t
 a 5-,            9 /5
           , .0/7 '   'sc,2,0/4   .2
                                  - -7    ,Ayl 1I, ,'... --   .:---     4,4f

          ilk1
         1;  .14     44L'Ilne
              3:1_4_6-                      -1    -
                                             .46.cj
                                              -                       7-7) Aeti---
             ofriLieh6A1M0.:5ile'(_(*114eig 6h-itc/ Gar
       .5u(94.hm__AwA_:56_ecir.iled1('                                                 i
   („, : - 2   -_,,' //de /4-44-,, ,s/-•0/6.,z7-eA.e.(47L A)_14 -b.__e
              _-
       Cede,'- Soat-A H 7i- ee_evaiiiA,Jeci -41/- 4..(          c=77 ,.,
        - /Viol cr yt;._bztelz- /4/6) 77,/,/-.4    );A        444/4.y
       Ske,_:_k„S /_06:k.:._4141 c:cp4i--e&L/F____aiiicrkvi--    acteti/ci
                            9.7.e 6.0, AA* /sok y4e, /0
       Pu 1;fid--&-tiociolLciL
           Do-;-1411414 -'4:(61- sAe_,.961-,__Cecde aid- loy soviiao'I.' e
 • '' -''N ip P1060Ployi AciA,34 ,X7 do Nol-- Anocij(       jaw -,

 (D7i      ,..r _A..za Af5-              dtot • m _________eye_
     _ars-A -✓ -h_e___aclf:v             ~L►© 0:)ocild .4iitrify On Wit
                              1,e___'il__910
                                           0 ‘(_(
                                                /0)
                                                /
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 14 of 45




           -/- eye once ihe /6          )6 4- Aei,a( he,,,(
                                                          e',/,
 Q€ l                w              ii-J:5a)±i_w__QtA-1-4/14.
          1,-7"
         h ____a__Of 1100511-Oif? -1q7 /00/- q/es, Tile 4.94-
    I hein/ 4 ._:-"elidALY______,  (Z-baiie c) 4462e
            ;114c-eis*,)
63—`-iY           1- was see4        __.6., Sa6c<s6iei ililee.52 kik('also
           cliV sAe' 5a#9e/y,i011 ,4he /1:2rutvy ccf/ IAS,     ; - ,,/rd'
                                                                ,-he
            -i-ile /eLeye c1.__AeA11;y Alcia/r,.61.i/ he ct2a1-/
           1-740e—I-6 cio ‘ofrie'Lcle-fm 4  /1-1 ,tiaZik as Aeee. ctia,c
             5omg,M)1:9_in tile 6ackC(1Y- igild ;{he 116//19a ;I-
           45bOil 1 my_e_i_51011_411014/2_2Mt;.11-rclbrii 74k/eye, fre cai-he
          _____9-A4ed Ae_Aadakcalk.#0,6taLi-khd- i.4eitii            anci
           he Coma ;/- A tr+ day 2/
                                  ____c4_2_,_z4/yetry cifrtffry                  "L-
          ey_e_a6 ;71 116(Lb_ep_A_alf_e44 axdzazehik 6t.ioce,k_
                                                       e Ai‘o
          neeaL4>_ctii___dtg_h_ekY__c.d/A_L_-,r_zei, 17/
          usii9     1 e 6i o         -il a _e_e_i_5/44 Ae s.,ev 2Lf.,,-•
(36)        hie- boa.      6vAI4- ei;i_e_c4A46 /            ‘,L-/
    ,IA)&___4_41tel' 5 e did 74.c _14__A4 40/- A /';,/,,, -(Zer?vte
      5./th 1 e zap___I4i /20z-4.41 '6,1,,,f zez,,,f- e.
              62(-4-yifiye,____r 7i ef /L ainuld Šazie
     Otil akfititta_fr/       ___e/§401,4' 41a ,.iie 4,0,a_c, ,
                                                              a &/
           Cor;tat "'leyhe,S hco ed                            14,Ago -
          6t too_rd_from Aethe a                     -7        Gvilui 1
           MOOTe LaheA__4at.6 1-kAl-and 7111ey_tei-00441;  bee
                                                        l e3                 ,
                                                                            ff



                               Ple00)of &I)
              Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 15 of 45




 (31)           •                         oc,,A74772 hclz- lo ,g- 746Y4,/96-c(
              ..1, - ,        #      li , tvd.- ill - ,../.  0 , -,     _a    - —,watid        _(.4‘,e-
            7'1) d                loto.-_-_ay, wi.i:11 ik1y inf4k4/ /ezidii_r   -         id 71-he
 •-•:-:-.:, .          Alr iiil_ag44VeLikle.'/At i.iacilo . .                      ---,_.&),-2---
                                                              '      ' A a.‘,,a_4
. i' . C       I 011"1-61).(41,(1115-AvrieHe /es;                                     _,/, s 7±efi___44ez____
,           •
              1,42;07 ULU,kilai:.0-nAgivielak-gier :44:1734iCIA:19_,'46:/1:4&54,)
L_D\--'          .     Z__L(..4j0_
                            -   I-:.
                              A 7 / :10
                                     71-11eLLLCArel_Ide-te/ illatZliiAy'al/d

               ..soime"04e ,-stee64 Azd--,a114.661)11e.    -                   e.6'%ha,/6
              be,reFL6r.iteckkd' 64.1.4,5e,L:_t4C-_ -/11eo               (  icAAazi:2,i/_i_w

                                rS. 1),', ,5:011t161_111', 40'74hed- ef-76_1z;., . .
(33) , ...ftiLiiLLALteee4A-.6.-                              e_Laeld - /4. ,.- • (-,geal-
                    _bel;_atiA___Av iejSb;,144(114L04k.e6                                    :exes-
       , ,: ef)4-'AeA.'..3/36-Ato -,1141 -i-d2 /2,0/7e4.4/ii_ce)9
 3Y,,) - - . ' -- am I/75 ..,,_4(.5a;_i_L. ithi:-/A)-/Z :i.:t:70c,(Z..-_e_o
               -, fA. ' f 64 .60A41,24.'c4,. 4. o. ,'                     4   *   55
                                                                                   'i
                                                                                           •4'           eri4R.i
              wrth_l                            f '• (1 ;7:15 tail/ al tAe'•74/14e
               1 .-- A                                          A, h          A____4
              kiild: /A04/, COL:ettit±ilit41 c--ilh;t-, A '57..-
            ' ASA ii_Cse.5_:_z1z2± e_., lea.;e,s___'                              /6,                 eA
              sk_c.-4)etchiwyeY11:046111 -‘51.5.,z- icee/„...10„./4-,.5,fi?                               g. ..5
               are . itrizetha                   r carreia -
                                                 A                     oi-,4 -             ehein
               as ,chidiA--„ms&e, 1--Ar'.i..-As)-- /474,3or. .d?                             ' ri er t-f  4   - .1.0;


C  g

              /
                  7 6441 rettS6II ':Z- $ 4. .141''
                   71

               -- -11€.:'LL-       fiLiec4-e rev;, fe.itice!`,:.
                                                                   '4
                                                                    '


                                                                    ,
                                                                     119" `1-4t,_f-_,,
                                                                      ;                    (AZIE
                                                                                           -    04-


                                                                          Ae,.'' clei4/0"517,:41-e
                                                                                                  --         it,,,,s,


                                         /09644-0(A)
                                                   )
       Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 16 of 45




(10           She, [.4 *Ile. co,,,,ethiely        11;4 iootetieet i-he- eye isseee
      AA:c4,-- ctito iv.tv            d,‘,#d hz`me,_asolvii,±_i_oecatie,±the-
      coimi_keripz doi7 -rer'/Wegearkiv„,,,
      az/Arno/e'
               t ;_.4 71/4 - e eoi Air ere' ,r< 1/11/S5
        ve cLim.' 4)- Me Al'                    eiela/s fro,i( avilzoi
    Mal    l 1          - a j-b_49e,&A_Zia.16.1,-624.
    6_416.4.20std-weeA i'lle cec                           e.„,y 4,41
     711it 6Quin_iritret4'0PLA5cleier abcess);jr: ci4oe_se A)fr-dcea
         th., •_€___6(4:14,_dikob:ai_i9ifzii-re-.4.74,:k// eeiick*i*
       a 45               iliy_eye / 55av iii sup/a4ez cri,ie-_
  .,cie i d - i --ptd,i,crzelic, e t4/:ii ,i-- howe ac9az.`kcii- ke4:
 37          Alli '`?4' t    hits be-ell 4eadyfa)ÿerAis ,c_'_Lc-e .
    ,L             t, ilee45;zrk otbou/ my eyel.rn el‘74-             c
              /A --5'
                    '.                i(05 /'ir'/A 74-          e_ 1
                                                                   '__4
                                                                   ,        652
                                                                              -4-

      °elf
         -
         AP- VC/ Aer__4_5(19eCIA-40
                                  ey—Ri;h1Leye `4.- C41
                                                      1-
                                                       4 --ah-

        - -   ¡iltALOild-Shytef-c-t-T 14.4).4,14/___/-

              Y- Afid____Y   somei-4;4_    yrezteLLA_Ae re7
                                                          ' 7 eVe
              it                   mg.           aiociii,A,
               Trh eady 37.0e ay:71r cApie-. &c.01 e.c.tliril
      • 5ickuc 5 ;Afer4Top)e,cili/eA t4,o /e2,- 5=4 eae- ;Aocao
         lo,4           (Dr) MCZ276/___.4_,/ai>1/11_415.1

               A A            • 7Si XIS ikt at
                     4` - i 0'•                     rid 0
                                                 ez,e,        0_7 cl/

      -4xhiloi9-5 p 46d_6__Li-- -__Le4.___7€//bi,../ed_w_e.,,,i_2.„,
       LI:74_,_/                  evai469 esrpoz/on 7dQ/D
                                      i                     :y2
      (-:Ctoll         1 11 d
                             lOcDe&Lo`60)
       Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 17 of 45




(5,          o 41thole lip off'e4, c4c-/ r "    Y7te 4-6(..A/M4efr;
                     C, ,Poy Chain Ccvle jh btore44 -CA
              lord ; me       LIEte-                                   /794
       17>        1.17e Gemeigkd .1640/1___47              43 Z.- 4,thh&Ac___Zajeu


      4,6    T                                                       /
                                                                     /
                                                    (,,),V1/1 me.6,6:-4
                                                                      1":=,

                 1- a See
       cioadiet ___L        -11/1-e -6-Jed thujerfCA
                                         C4/0/11C Clive ;S 71-                   41-1
             „3-teeke_450    es y(.44r viadZt   57ys        a„,d              1/24

      (CAM/a -z---71-10aiii                       .itte -RV            4-7-41s ck.)‘Ls
         -eir,$)--                                                     IZN err-         c
                     4a41 4
                          "/      ,

                                     ‘
                                ceedel -7                                S.:?
                                                                            (02745# ai4(0
                                                                                        )

                    C0111'4e1V-'4(.4.44

                                        bicir 414-4-e2._/,‘J•e_ (;),    4%1152/..)6=8
                                     :181#:5±
               CAI__140L'LLCat_aXad_44 3      71"loaci_kez4/1&

                    w e- /44'                      (Law held, .517e-54;d

                                                                CiwiitA4,14141._
      0V6-                                         1-7;44 novw kiLeyes ce,► :hoe

                  w41 ix        eu d --1-11A±       n    irae                   e(KN)
                  Gtj wok M yoa           l?
                                     kOlOWi          34.101ed

                              Z37     6i/Ad     ScALLI ele4V-ti eAc                  tif)
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 18 of 45




(PI /1/ufsf_-prith' 70 _.- -ccoie -4,fid5,,_., 7.-A&.c       . .,„-i_,.,„
      nevey_Asd-          I Ae kk,.// okies 14714ch_lao,e,7A-so
      /4,,,,se,s (ANiel.,e4ik) tv..Q.,-_e_s/-evi")(
                                                  i ii iprifwv_e_,-   ,
                                                        ,L-F9           J4'eV
                                                                            /
(1i3)                 the_reALDP4_4421n,X--
                                          7.:____61
                                                  ,-4--W-1
                                                         6=s5--
                                                              42e6C4-1(Ce

       ____71"A- e „90a_d_z_DELe& Cosvi- Cz:d_z__AA /ntine-Y f`C------AP----
                                                                        . >r    4"--
                                                                                   if
            Aelp 1oplaisetrisi -11-1-0 es-9''44*--as__
          -72-0
                                                 '     ,..c,ch_--
        cedve -TA„1--,2*-0)44./ ciezaidiadetyjjlion4
                  4
                                                       04:ej
                     r_acLic.,,e_etikedi*eA____Ilizt,cieici6fr Cevt),_or
       ...50-ti-L±._ai
                    f
          te-€S-c.,/ )10 do        idgs 2    Ae ditcd,e_z_oz6,r)044&
                                         --- ALra
     ,ii Aly 4mily_caktd_2L- 6.4.61._z.-"de6CAS-i4cciaCfdet4
 (Z44-)         l+on h_._erny ,,Z-1.                 i17e/ekt,2__Ciee4- CX/Iii?_4/
          /o_a____a±o,pe.____aJ___d___.e.e/ef.."7"*vi.,,               L 2z,,,s_4,
                                                                    Y- ,            „24,,,fr
                                                                                 4 Lez
          LZ" e_i_i:ev-e, oleEtt4d - Ci:-/4,:ekei A.A,zi___41
                D_-ed iicr/ 61-e-lb-/v Uip- 5`Af ..cal,) oie
                   77/)
                      ,?, /01z ,-/ii-e'd sie-- did ,e7c.,>4 7440-(,,,_freie cii66.(L-c--
            6)-1e -(7_6:3fled her virlay_s_Licva_eLle arid --2        - -- 1$€ .4:i:,..c4-
           dexit4,7 4r, 44"ecirlz. o7),____6±e_e_A'Lblii LJ44i €141/-Le____k2e.c4,       4e.
                          ,- - )a.S±J7-+ fl'e-e          /        1C,.is
                                                                      /1
                                                                       4L,,;_t_AtIf--
          CAS44 CD /d- 1 .Skle 1,4)4141- ifrOLe5e 7 ?LAC-           ‘(..C-,:e—CAI41-r
                                                                                    e

              iell±°621-1-701h)ei               1Pe, -71-ke,- 0-D ‘  _,,„4,& ,___
          .scthAkkeZA? -eas (*____&teuc,c_pyjwi                         Gort)
       (dAi //a0J Als.c //id- tisy.,6 Iiemi ÷ -74A;c,k, 5/7e 5,ik,Alkj
                ,r-       ,               f
       "-ADA di          ' lid pude,me .- r4y)).____eeL_acei___Ayi_Th_eefr
       Guere SeeJed:th_Z:pi5.‘46_-__ef-e voi                 'I- iye,t,'

                                    ,eil Li-) of(vo )
                                 pa-t
                                   !
             Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 19 of 45




A-11)         1: --/-b184ez,,Of,_Aktgioie_blics_tA,s             -c1.4zs
             A-ck cl,&ex.A____&iti,"_pSs ail-_40-.G,.Q ---0/ 3_1110,16_,4,4i-- = ..
                      -   iok___64/v__2(44,
                          t                       cieot_aveid_ztrefi )  1
                                                                        ;_c_)zotri_eff
             (1±f)-4- A ex-7%441_10o        4"A€ .._2A)i:4"or-s at- adOd_ctececel
              kebuee , 5he ..,jd . si-)e ici, 4:Pe 46€ ju
              ,                                                      ee 1-A44- an d

            .100/< Šc"e_____ itae 45:e: --Ccoped koked rti eete_A__
                -A,2:sez.,,A 25, 5A.e_ lito,941 _10/ a,-101 cr tuolsetv.e
            1it - ai.,1/1 A 4r) a_ •           4/1e__/__/__      // i 14, di    - / -, ,
                V      a    -   ,       ./       -    "i.4    ,,,_ __Er.12/11    '71-116,,,,
                                                                                      A          '

                                             r
            6t\d .17 a 4                         '4_, .,:i_     14    ..4       a'   -.1‘
                                                                                        e Y 141----(1



        .    OIC        ------a---L
                   VL-e-C1        6214:-             /   ,
                                                      )1A71( /r)i     4L7e,* c4,115 1/1              ..a. 4 ,f,s
                                                                                                     (
            , d Iry etwsoily /ea/)49/_:_44?                           ,-       - 6'             - A .- - 11-
             of Ply_Ittcel- T_Ctfil ,Oti.i'gii
                                             ,
                                             "!
                                              i yek.4___S iq--
                                                            ii           A__(.-itf=.
            1 # .               Dr___            fil-icki,-1424ziZwz.kssseik_64J
            1 1-- - • , --k..sA,_;vALAL5 woz.t id on,____esciAjob,k68,_z_o___LT-
            I 1 cos,k)1 Nid_copyosed," `-ktdeicl`?.____P_4 1 : 0eaket                                              '
                   .e ,eik,L6',41-_,(L_a,____,Lckeli                        d :2-         ,-/"Ol -2- 1/ead-y
              (7414 vi_-_,4 1 -....,:e s_ic.,,d___:,ti_4412A_e.,_civif_wa,tid 1-yeD4
            ayl_Abv    )  -nteji A - 6(4)/1iyeik_dic14   /7
                                                        ___LAit   /474 76/t-c--ifz,5,1-,thi_e,
             -71:heith 40-1-Alii,,'., i /.,               it_cti6cLz:'                ?,
            -1-); --izeifi_‘ 4A( # -                          "        _z      A ,., .- ,
            --)9-1,e      4j/____;71-. ct,Ad zt1i/e,,_(3A—a _Li 71- /41/X__e -... ,-f - .:._ -_
            -A doe scAed4ALEd_____sliciikitY--haclazar Ai,azzeedo
                 i.,. Le --Aid__ZIfkill ti,__Skk. ci,Acwd s_e;i- 0,,,,i- ,,,,____c ,______4,,04 ,
               .-t-uic              ce„
                                       )06:9-e 05)0--r(Vo i
                Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 20 of 45
                     T Sa:d -4)       .`' nt16111:1    s,tr o/fciettrvfiiet es  :s405uevitbcd        cav,
                     1/100.) siv -fr". x-e- e'l / — r'''A'tife-     4  044106)     ,  56k-yi>pmene-5€4....
                                                                                                 yetclotou✓
                           -tkeit €4frO, the Ciluff,:ik 1eit
                         -CdApt ko oo(h;e. cid d 5 7 ,i
                                                            3- ,
                                                              -, czuoci- irt,e1&)beiv
                                                                         5            "is
    (6/1
       .             5) *--        di CI /.°C1 r     1 h It 4k,ek cAll on ,.."71               .---7 av47   /
               a d cuidiver oile              Dil_Lieee keZ15L
                                                             . _L
                                                                -4,20'hlWE94-F)___

                                       on       SX                 in A "/)ei/etfic.e6
                                                                              t      741/471

               0116 ect,jr;ev_ixoe_ttir /I                  if ifila-/11)
                                                                        tso 4fici4te,
               gio    ( 64,741)e. eyes 6i/AA         Ae     eitrikFiciN.A6 4,4 45/xi(
                     3))    ri€1,(Nk6et.1 de
                                           ( 41/6 Oh 16_,C2/ 1 9/70

      _   .‘                                       - dobor7 63A1(0),
             larvd /6 /i)/&--7,"- The Asi-oi-ve on j
   6   i q)         On italh2L7 _I-Ai_              -
                                                   __(2___Ciirelfiec  _kitAealb-0
            __CeALIW _4-1-oil //, c4e,i, ai"d Yil&F,sald x wzcs
                Scilie-ded -rote Yhe /3:Aor/41 a( eclolcep-,J ci:              0. etf.k.,
                                                                                   j .,
    6/. 7 i-k, ,On 6640 bei /7:_'n;go/ilivy__Cooks6.s,
------
                Af. wafien_af thref 05 60/- Alo /1Zeg_c2-_.‘.e.
    (1))             ph 0dtibiQr a714 aon wc - z--- --                        kt,
                At___Ciwh'65-AA d4116, 44 .A:dc_i Ae X-sseci4le
            .__     411.5.542_4_u_diewe          Coakial fi)e.e?di,/ alL2e.ik
              51: hvis       4   Tetee.5.<erci___4- iluk,e caktrkiifs
              alci.L.LAdtdt 5oviezs-CatcA01 (enci C4iwid_4,)thkxte.,ZeAdvik
                C3Cild tekccii --1-0     --kaLfilti, Nraeyk)in.S-C--,3141A/ii
                                                                           4(flia

          )          1       •                   -       ae,„&6 '04/1  °Vey   *kV ;17
                l'he coLotier fii&diares cciA.5;364
                                                  1 id ;nits friediiiifie,,:rviee0/
               Aild Tasiazy hen .-P0141 /11,1))41._rs /eiCASALI0 -/red- Agee
                11%F/et eixit cdm       ci bthee/ 6.4)- sHlir      lekil
                ileat,r;44As             citalvitty_evel DAG/         ke,i-11At
               5 kle Ao           e,&,tAf 6at 6)77/ AAid Ak.ss th4;444       )
                1€ s.5 ® .-1- &sium-ei,r_c4i6s- ed.i-6.0 beHee csiotkix__
                                 faye (10_0-c &c)   )  j
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 21 of 45




(-1)       bd--6cve I-- ,T. .5c,t-Weirec7,no           acivecce-714,4
                                                                    , 671<5
        dwiliyil,ve diAif ..644- Ac /1)/4                  tilti4e(.44,-;:hf--Z,
 r ) --74              (411-0 Aiert?/&/.- etiett,t_ .1.--etiekti---'10 gee/4
 (5.-- ) -1- JI'L_Poi- 6i.iffeLAl             , -,4cver_e_ ‹pc-i-s ,,,,,,,h/
           4-1/1-6 /44co eek, of Oeoeméet wheil 1 wocild
                              li kfry ,i,et,lisedec4-
           -Fever-hi% oz,_____j
  C.53) 0114.1141- Dec-enitler I- ceiimei_&,cemher_31`5')--Z,7 iCraii
                t tr iof        0             ,6Lks. ek (#-at toy -10c.444 ;11
          -67o144- of 1-he dcem aiii_weili- -19 lite had< or)              /
                                                                           1
                                                                           4.e
          cls)445Nis)L1/4)hem 1. 7 an'04-1-e 41. ille 166Livayn7
         woLis),i,e4 Ay Apinds 414.a htle 6)64re of 7/444,-e4./0-
          tvi‘e--(A 6-,__aliA -i-ke .661Ase offkred/c5-1,....k,i6iy
           rne_4(161(1,-. a , At                A 7h -ilve. /tus7L 9.WAI ,t
         rem",Ler (A4111 S woke (410 :in 7ilie bekeAk d 44
         yALtyth,d6oc-e,-erkif. u-acksoki ho io,'M ,fx /1104-1,JAeley ;A
           -1-1-ce (i k% FA+nAhc-e,_7_h,if_wa;__thtee_ct
   '''")          riam____Pecalbet,. 1_017--/b•
                                           9          z
    , oti---cd—;_f_md_f___6114 evaLfartinhei44                          ot 7iasy2
     s Egfitai-M- k:42,41v.ift.,z" hAve_heen                                   cga
                       4,_64d-Oeclactoic g,,,,,a,
       73Y.-ene46:ca_31,                                         % -.5i6zi_c,:15
            )11-; 4200-___Thy_z9d="nee_eilldr lher-e,_41td. 71k e
        44       _A   4iti-SeS        t ,I w           11!_to            /Ile

         .-- do A /         °' _.Akiddo&A.AzdztTh 4'                6:0,
                                                                       ,ree7Le.:_4;i_ai
        oick'              fertzy It A25, efrj P
                                               c
                                               .h0/5-              'e...,_._Lua_ee/4eey
          -1)_ere,
                             pkla Otai&0
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 22 of 45




(5,)           5he -/0- /6' Itie ivoy.6. "04.PS ply 14,4A) de/A/
    doe‘iliskcio_cliea           Lhe,k_tdne___L_sAzwie-skmym___
    GAA-_____c_col pi_i_           itt(1_A±            ;:; it"ssu_ce-4404+
      il,i, 2.)ii,___me.               i&L___C40_, iatchAfr-AG'e Aan_404_____
              14-1.1   Lfilk_alld                      ag&JApe-ð
                                                 fit *(40             _fe)
     .71-42 ,-3-6,(5kizi_e__X, .1-4)4e2___- _ei-e,_:&____A(ee_d44/6
     (    pec,11-9:,za /rP-1-6A 31€'02ofiZte__Tela__,..7" ce)cAe t4/440
       'II) 866A0-E4_114144_c 446kficArze_,,The_4male_ema7; 4/(v.
     A e [A/61-i,(.5 cufoiiy.4)1):4_441.i_,L./Z.,4A/Ai-- Ac
       60-Ay---ctrez y-ou - '                    h -   11   t1   izedzi-ed-17.V2e Ak(
       fil e_l_Lbi-ALTALLIG04_1/.0.
                       e                54:41 (3)ci4s___40c1
       ,-i- CA.10-1S C'h -thae,0
                              6,0ay 76 e)1 --/405,42
                                                   , /,/-eci foe
        Eft)e/yen(,y A r ' ,5t.i -/ 1-A e_____.., 7(Ala '
       1_-____Io- C.,IA L. ' 4d eee____6‘2_thiZ, oo iez.er
       Co21 i fide doo)h                  -(;_c2Mtakir           s,ff
                                                                   ___Cii 'k_fly'
                                                                               Cl e5C4C
                                                                                      l

       i   ----MOL*
          C0   ,  1 141eM                h441'z_i_114AXnezz2)6YS
                                             r


             _6eLkill. Latikeziay_543c( -Z- 1:4Y-Ael be
                                                      .,  5_e_ai
       rilv_1<id4e_y 5_5hdiia,_tioala cp_ca          ck 4, 4a
      I'                       4   A   ' 6If i'daMLSISM111-4--4i--14.-&-S


       11
        /14   303- DLO        6i           --M- a .606/AAAJ_____
       -r floti-g_644, Thi_Sis coi-4_4he_tbAti; 4W'Se.5 -711?,:ale.-
 c5)            Me        dli-i4e,),--           41-10-14                1           wie
       a---c1 4        8 Pr
                                             i     iir
                                                                 .4     A_My Ei       s/c1e
         -f h             II              Airi    0    '
                                                       A          i&y        efAr-

                                   icttyd0 0100
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 23 of 45




                      e,9___Ceivicci_iii& Gi‘3.5cesi_24,- 11, a ,eli i' ea;,e/ii
                m4.,s&iti 19v2e_i_4_smiti _Lti41.4 cheily_hadrAL-ag ---nte ;pi-red/on
           ktd deA6149h- aLA lit'%44e, meiii'''4(60,,dal- ci 941‘e
           ;if, eily ur 6')jciiical1=_Lats on 1/4b_c_ivmf,_;41_                        i'ce
                       A M Cipehekypint" f 4tie a,1_46,,_ekly)
           Poles, a                   _i_,,; e_ 3h-, , 40171 bioik I'So , -6'.04,i
                                                                ,            ,     (
          -11;1' " GUI()            ,a feyded_z in?                    ilei Kt 'lle/4 4/

                                   1.1a                _e e 1):'ilt. /6 -g,.v.e.
          ine_milio:Li.1 eS__ihio                    e 4.,,Le_i_ii /ny ri Iii_atgom______
          __ItiAaLL)Ove ihe elbow tod e-Pded--AeA‘z-Vil 6;4;1'4
          ____tivi.4152__IAMizilicii i__Ice.y_a_bvf T-V__,A__nenit_letil-
          azet .AL_..cit-ciw MILL-f;o/121-0 Puke ‘,..i_e T._:ihki te_e_:>t-
           A1/10011411Al eyfutici'ai 6,11) it, 40)_51,44eAc!_i vesteLcoAxf)i
           tactb_dib)____mOado,s'6s____ko mac6 lot a- --hrie
      , iLL5hLd—them sd-vAð
(S"( -15)        7: I&Pg V                bike),.oii,Aaa)1 gifAut,er g.-9`fiti-dig
          i2ec4u.,‘ea,Sca._effagi,arry/fr,-7// sc,;(                         )14e_y .
           Cothf Goie_Jci _ Me___45-kiw_C-k-171-6,Lx TA c ad-4
                  " 4     i, Ar   12441 Ai Av./             'I M me,..V-avikty Agee
                           'I'A
                             '     7- --- ___,                    y /1-):/e) Q-&___Ice,
.5"'                               Del (  . tI Ci: _6             64(   e_15_41_;___41b,

          44110 ,_c/ALIIG 41Akolitt_m                             4/0 ss                 e(4,-;
          (th it.E:LO eittcs ii,/-0.0             -etot /r7 /       &/io ?It"  4.rycl*Ge/772-

            f o e            i 7hi-             " it)/7).z.f3 (,o).7A4' kezit-___;AM_ciarafciii_
          pfocts5 cpty           (4))-M c134 44-- 1 hec.4- i-h (-I   , , 1-1*
                                      ai..e Oct   c 66D
       Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 24 of 45




4         160   my      )' eity iz S__oi Pir,    icSo    I   3,,tiv   c_k,;4
          '9               0        '1ocef7S i š               diklided-A---z9
       Ate 3.Q___Wi _file_f_ecee_aake,.                       Altintry__001
      _kill 1/4-1            A cal Cesie
                       1-6C:chik                     (..dialAe, zr1J5
      1 za41 lay_ot_Ja0/4/- e.(,•) meoutri----e->(-/Ad et .LICII2e---
      "Y-lL,P—g(11-1---                "I;Ye-kete4,__Zerna10-40&12,
          i- Ot /ri 461-A41-/7          )--6
                                           '41--- --
                                                   5---
                                                     ----- .4                         4;--   '-
      ______Ayi<60(
                  ,)ielie (*1 tii4ccie_erkL, eiftp_r
      4     á A C___40 5dZaitirezike
    _pkgilcittelt<r)-(egi                          ae-
ea       7  )-       - .. I -
                            t bLaL/ifts veiy
                                                    _ ii/ 0 ,-5- a"/"Y3
                                                                a iiied4
          erInctneA
          61           4,0:iliem/AiA per,he
      T kiSo .114,d__--hAt itee. d -iihe_p,fr c;a15Am
       4t) p_e_s.G.JaifY--GeAbli_ 1441Liddli,"):
      hoplr,k_-QA,1(5 6( ybiaite--a_Cjd-ftiffee_aia
(CA             Aeln_l___410-                                     Wt_• -
      Ae_a           ave_sely      1--      la           iwckazfl- „fr-xetiz-
      00iy 4.iel_64)e ,i-- PI                            ,6e_    DA Ae___Gite6LaGS

      dcri_
          r6ei        Ogotie__644iLi____ehz              /sit;-.(ve sc),7--te,et,s
      s>n  A.g4,__KAray_b4/ a me), - A                                         "e 4
      50  6/1k           cliciti 40___ eiti/A7,Oh 64/-7 (ike), Cd441
                  Ikz_il gi
      Valti       rabiq 4 frZo.c23,, 2;_i_thi-ött //te,Cm(
      scheie\tied_priitr_aiL_Fa.4„ 'I se,45,--,/,:ne_iLmefew____
       4r) 6nActeJle-aelgtal             bul- 4041           cle,M_ ,- -
                               pe;ke            0-r t.
             Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 25 of 45




 (63,        G9“,k1/1 q       cleeti!:      ehr ;friiipti-e ',e0c.off,Lnkfi k
                                                                            . ,4.:Y5246,7
         'AD gOcey had ite.5c .                             r_i2L'acif?, /Ye 1)4i
                                                rii, e- 4.,,a
               clt 6.coktillibieiI littAAoA-4/cin .Ay4/_4
                                                        . 6z/t14it ille
         0.11    Mta.14C'_icik     __,, A           /3400/7e
                                               /7k.r. Wedreoll
                                             -))                 6h /ii•

               i ,512y #tes6weoz_.1-, Afrom,thi_, >i ±_ir_ie, 4' tsA
          Pe /4, _               iiy , ualts erei>y_h             eAskifrt. fosi like:4,
                                                                                      ,fe?
                    -- '
                       ,     t Ii- 4_,_51 4-              _alkrtai
                                                       .4_&                     ' I ,i'de
        tA           ila Anigo, AdEnt                     e_48021(414                       /-
                                                                                            e_j-41eA).
        -1       1IaNel. O/Vh.i''e-12                      hreleeist            .sktics fliai ov
        __I:     pap&         ar,7: atnj     •Ylve7   A ,a a C weit'e ifri_i&op_es
          -F cioAi -tht ._.s.                          ,enin:a410.(6
                                                                   1 4614.5 aiL
             Lr(
         Datie                Di D"--r'' letert419/1 ,figiLL_A lo 9'):44,1
        _Laziiii.A               _in5-1_56t4f;o4AQ4Lovje,_yo70 iesp35 cAA Are
         same/ coi, "-five -A,yeAgifek,,7:"                          _&,/;_ee./lize.5          L
        co,dAya_cooki_h_q#,Lir____..),,,,,
         wit/IA/ye:Airs ikif06ektx,./45;64‘g___Lte4Sel___t____eari4
         ot,__d /eLy.
                -     ‘43. cL", .0041 a6kessiAle,5, e /7".7.#05;v
         clisectsciAAL(146 hoi va6___GrAiLetii4/S wet& 4'5_4=45
        iti•ci_e_pio          04i14             0.0/5pee.,4:11- e--7',4,,r,ck5r,,
        r ' /6V',lit_
       ,it_6100                  AlfalOici,

(Caq)            y_ca4t. PeLne4e_ye,e)c)/9 .c-tJA..s 0A I/J`day,Z-4.4.2ets
         ki-/- 44d 01,1- &ye? s'i           s44c/ 71lic 'scMiaki"       le
      "*".1 qkii4efe(    h(6/1ic     - it a...1...ei.'n10- 1 -I4. 4)d-idel'
         1111€1.11 a               LiChALI     td SiLe 1- rert4,Sei 71-11a"Aa1C
                                                                              / iratel
                                                                                     d

          A     t      ,   N. ,r,,j-                  ilecilyjiejr,Lotce,,
                                                         :76610)
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 26 of 45




(&          io'cz-;6`caffp z-    weivil- rhizo_____4v/k Chexw
       aii_id, i/t-6//i_id____,&AI -. Axtde1ic) 5x-i A
          - L (,1__14)Aie-A hAia___,L                __t_adzs
              h, rSkied cat.sei9 ife-464 lic/vo               /
       ji,4 0       1.11      It_ti/ IPMLed_hy____         ' ,Ae X -         /...i
      _Ailci A.L50_Adiike/ kef      a in    _froveize 76 iYA1W
       .1.--,1 taillo wab /74ea/Amce—Liddkv_evc-/eixdri4,f,
      ,56-yel.57-eyeliweiciaa/twitrk ilk4s- So.7-
, kfril nfeylle-sit -I •e___7'                    o am 1- etet llea,e,
((eig) (Jul- ilild" aeleerboof-i--avis6f),ee/76 ,          -7ft.p,
                                                                 e
       esfie) /cap'        (,),,-ckha__,e-pt             ,,,, -,. :- d .z...,v
           /    IL_HeA a_t_q_"/),-0_,,,i,ab,Pci I& S'7,ii,
                     P Aoilia_AwigaSre_z_xleiz
       Att_dir,,5 z7:- 6e,/,:ey-c_z_z-e.izO,/7.5i/,
       oluti-- _.- hz4juk_,o4c__A.__puyL,__azil___
                                         r         *ke.f ...' /2,
      a_6),-_,170te yeArs A c..,Qiy_6-,7_hrw--/A7eze„4
       is oveieLzun_i,d/k4 addid--                     r-y
         d AAS___a, Alfri_c)-(7 e..61co
                                     ' ll:_okLyae ca_1

        'fficerl_heee aiiii___/#6                a    6/   / 1'     4eitt    z,,
        ci
         rmly_AalLa /%-(e 71            irsseie .6,- i's / %,?
                           14ieffieki l'.9
        des 40m .59A1-04 76 ileye.„4)_y /hey gei sopieDile. 76
       imy_of            - ...-,   /4,44,-4, /--           Ata
       OD( 3--bilds 44 iim e3_6:'')Se.ar___LT GIAA eti gkke_
              36 /2_ of /-Guls_yeotio: - ___ri q--bgie,
        AA •i

                           P,e44-4-L-60
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 27 of 45




 ) Odabooti'
67                                        ere-6.)v4S (//i9-- 6.4511', Lk6-brothl
        i-UL4-5/ /hAili Ai - 1 * - mo14,NAL                       -kite 74 )
            1/1r -/- // e rti.6 m cw,,i,___  9 ,bge_cpp4.1 30/4./1-7e
       MAI" wit-is do-he oki 'i aYde.,                    -, /          ¿ 1-4e0
      tAlbeli_l_weAt bedtA 16: c1/1/-5`AtedA14, sfAzt.)
           aeittj  am;       A  c& ieu  fifyirtt     a--
                                                       - yji,,,a    kk,,/.0
   (36                   M.
   zdjite;_5-___Aly___5hitš ;4.56tes- ek-      /6d_j9/,&fait5)/4/41
       m, 15kel/me-okt -11/441- ----Ae- 606s 04 6/01                      A-76
   --tes -4/11          e
                 _ 1ciie,e         X#&.?, e /1 6amirkv(lArediouj citeScor,5c
   af)GOd Diimoid. atm' 6,_14„ry_f__              4(4 d                      4
    .5-( At /‘,1 TOT                     0.11                 ,,,g 41w ,s44 seci
   -io _J,e,,,a. 1-koieb tive ke2LLia,900eil- /34.1-lialittf
      h&akt_se ..a_Vei               '        Lei ,11 /              h4.15e,teA
   tuA Him ow( ,„'id /tt)/A,s Aeaf iii / A 6e/9 /c
    a 4pti e              ,red6ier Atli ;‘           eAllaec±76 ilto
    --tKaof-a,%_c.550tea _ai,so ,tieti 6it 6,6_ /X
   4+___9:46A -tiqii-- -the MArlaect _966i,:TY- c,i45,4497
    a'AA., - . c(1 kfryi y&C c,A.               ,      52.e /00Xed heilee‘
          i'( 1.__YALco(7
                    -        `Abl_yol'oly VL16,_Atfr__„<Act5oyeAjf- r
           d Ae. fil S ,S)VWS al/eel-AI/9 ;_,..etal, icakoted-
         tm A a 4)01d fi-ce //'e.ik kfueitte,atcd_d ,me_fri41-
         eafttis-ebAe_klie .__thtd-Al- 6/e_to /1/7 --0-0,Se
          d Ae AiLA.c6,,s leiow,if_yecetisd2174//ecKs
          kJ"iltefall)%ee.-e71 icLaltypel 1-4,e iffift-:L

                          /Pi/9e          e5.-/ &).
      Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 28 of 45




_60   caind -1-          SA-otAiel LiE Aaid a 4,
                                               /,‘                   Š:ii--6/3
   /ivrecgb h_ati                     e;$14,2 eiiA5-          -fib 4 ck_iitee
  -k Alliel  9-if                         rcon_g_&iiict)ci Aim a6c)coL
            Aile,_,36)0(lito'oveilaoked                  ii"II        Ge 14 .72
                                                                              :-    1
                                                                                   4(
         41,
         /         ____c_DA   Anelae""c0ad e_e_,
                                               A,,__,e-ece,       Ake .  ,3
                                                                         ;
         lie_ir minedid                  7L44    ait nfrtoe;cfriee41 ig„,- 114..c.
  ;ilfrecebei We 4 so aci&e.s-el-
  eadel Z-- e*/411-62,1"we        _c_4zdy
  hAzi cv:0661 OiletesSeci AZL e ,C6-10( frl'
      fik61 ±-1y4e
            1      ii.643 nks;h7 11-16/
                                      411e e€7‘:-1411
               OX ZeLeg:L: , ri          ififl /eze
      ie_62/4- -(2/e3+1:G1         F7   V"t    .LI ,7 671 ccd/4
                 sW--ifisee ‘teel     fritWi4,5 /Re 76,i) A5.7-e(ei
       O Gwc tiv cift-cy_of_o_59294ime co- At eKA--
      a ci            _apiyery ofri 4      e____.6/Adraz/lop
      off Ac______azai Crom ihe       neil/ si.--;,- r       X , sil
        _e_derkt     ei.„A           A    aS                     -.



        v--kii°            _
                  -7--edl__4  qc10_,e4,./-&I , r .
                              (444./1-05/.- C
                           4 14              /


                / gi- 1A__,    " .___zzaz-Ai‘,„_ck &                                    ---'
            , SuLconfrdcYs_LwiLzitai k lei• 40 re... A
  aod,Ve__&;_49_0Ze4;cctevez,__
                                                      c_Cierl     ---Q&Zi     k--06
                                                                              ,L r .. —
  /0 U P iliac_ / linta A: 41.01 al diniet-ano c- /„,.11... f..1.1  r _,L- ,_

               tthrfAdel&ici-
                         14,  °Ate .4-____rne;ve ttl/e
               4 9dokdi ////0141}" wiL kozZAile,
       Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 29 of 45




(c,9))             is 64,riefj-tve Eg old-yid .1ine 1)19.0./ vive
      1 (.. aAs;, ieveit -10 e4A, DiAt.'h),,ix---K.K4 54,6/y-45 ,cs
      tRitt),(z.;:censeti ASirep,1icie5v)0.140 doiiV have 714e
     0_,Lailkoc,:fiOrts etit Adli: do-es 5/N4o/el -614'49 ,;/, kt1±
     cavtAt___-(el716±_cMdnk              . ,z--i.-
                            ; -.
     wifiathas okt illy for,/    r . eve I /- am
      da:.4 Soi:-raefri._41.60)d Aecire'ait_kt1//oak-me'&spit
      se, 1pet 1-1A. of T-,-vf             /e//4- e. 4P/1//5Z.04kic41(     -
       br, 5-e, h'iles:Ae) elIcd/5kt..-T-'754 /dsesf
      bokte fe,.cli_Adiotte 16)(4,-5 A /,ere k , ili ilia/st;'.`Lirkeit
     (Ael¡eaI44frte),.5 do 71 e &fri 4.. ilE= 4 9el/eifel
      -&-Ab6 a           #e Ad_one.'.c.             'ir  e.,-3̀ C7141 -64/

      ClaiAl         4 Die,Ael/kirk, 4 eV RAii i ./Coe afrvi

     Cli            e, Na6elkelkils ft.t• AO S4,/               ' Cl/e/halek ef

     105 eijAeVaileZ0/
          r           1.6__:6
                            6 /41
                                4,1
                                  /4f                 /606 444;alit
                                                                  ie-le______
     a-itiliefulAerMileirieiedo          4;7e4A_,..5jA__/64_4Lis
     )1-0,04111.;i1/0 60e Od iAderiti'i.ofime.57, 71g4'olic/?Ike 044
     f           ,
           44ed-sv L,Li ge/y:shl rcji,f1seld             "aid_s'.6141XecIA.,0-
     5ovhzt.16..s. Aaf /;?;_er.40                     ,t'.'A e_za_6eAr
                                                                  ,5.,be 6.toi
                                                       4 t,/,4 asitc4o 7ril-
       iNC___1(51,0_114 4- 14__/-0414-i Ifr irll Ar-'47/
     ;:h. a P•eil 1,(4114 '           ' tielliliery wt,d,Se ole 7    4Xe
      pork/t:&              4,
                             ,a;bel.41coizg i_Ceo, >11-c               e
      lirti`elY4          16
                    11 14): 1
                            1 -h15 V.7
                                     ei          t,/he .__4 he Coulci d6
 '    aix:"/11_24 A'„,:h; '- .                 ___DIV.efre,e7i..Kezt
         at&/-eo-.6,:tyriD /-4e46:ti://e eocl.      P1 vd4 tile          anirietZL


                                 PC‘   Ce(k5)
                                            -   O.(
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 30 of 45




   (70 ;14t7            i:he Over A. .S6
                                     /14 /0 /4111404e Wme -Ootpt-e,
           t_,<A1:cit a-150 der-eo,-1-sAeti;ease-61C 7174.C_ 414e‘
               VAF1CO A CiA ;fri /19,CA,se-Aq,6 /0 he, 54c,),d,-/efei
          °tiff A a 0vy,-e/togioe,a,n/6. 7f-O *eeiet,.Ge,-+
          5A4471 Ply Miiitekc dot()11 •°ON tefelbeci41-- <6.
          a("1-efct. gk0/ 56 h) ci-in'y ci-f11 _--ef,t,d,.5-
          clidli.          weft10- )cyole-e a/7:14'Aalz-,,    ,,,f,,,A :
           A.Ad Vac_C-att Ckalie /lie &LIS'oeia1id aceep-f,-", 96
           kotse_ficlayist    cve 5, _,,e,aseei76 do izir/-6/ce.,./ece,
                   _Acvey, i4Ines- ,r ,i.,QA4L-. 74 A4,-(5, ,fri `71/me
                                                 r a /of
          ;ct.aki=g6e oi -‘141C.SA4Y,4-7,_Thfze_;‹
          MO/e otA-M6 ;“ike l'APif- putv be Aece5.5    ;fiduice
          'ii____& 4-ket, TA    ._, i- f‘ 4       f4DA.:,5_04i
                                                 Affr(
           :-=.,,, *co ..() do oe do,141elo 1 I,
               6l_tt.e_e     6)e
                               tei _.c_r_4tieMi_i saZ91-4c4
                          A ti
           ky eve“t_,euxito _l_____alleS                  4 ¿de 41te_hei#014/0
                                                       e-L1

           ic ilataleSS 0:E_(i)14CfkLwre___a_k_c_444 &yid
           ;
           i ,_,„isr.,44
                      ,± ANte Ae, -keY2211_11-6_che
           °Lit medicildfirov4lifis /4e__Iteele-_-:&avid ciii- eii9-6Ae
          ar-e-j-C-1/1
                    AZOVSele-5--rot)-A--/Ithitt (4
                                                 .Je           Aaile   ait1c4
      A.DileiLhAies
          .                              (Se Or Kii//s us_p______eeSa- el.r_
                        tklorkes (4S C4,0,
            Theie. 5hou1ei ,b_fc,, mare_ eeve4He cetre___
             )41f p_e_eili- 5-y-Oala 0121,adi-i ,E,,y
                                                   77     si- ";vielt,
                                                                                 ,___
    )
    < -11
(A°j)            Rh;biritY (419g             1jAkoil A etAs ev)4/0(e
      ttkfed -it. -kke scote ;4sue, ilps klAeknd oc cede tt2eirce,
                             ipiNet            (_(-
                   Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 31 of 45




                         =EXlietk,t.s/-                     961 fiemcdies

          )                   i ti_1.,   iMeildad          e6-co             4 afte,
                                                                         4146/
                    e;fig ;thine d ioy my___J-17 en OW /lifoinc                  _Ad1
                                                                                    -r
                  ___41 1__Ply
                         7       Caboc7±iiiei_y___I&eL           ee_14 den`             S
                  860elf-e _ctiLtiiirii-ed 7l-Ae 5u,y_f_y it.4)0. moi/e. )zw_e_c_eAAJ
                  1 Lt-ocis denLect_LL,Ilt.       Or5Libietfilli6-Ei
                   Suleiy_an4hotmikef az)/.9 deh*4pic//e,s-64C,#07-ci
                                                   i t,p4"" „57_,__/5.T,2-- (wise'
                   k) fiov;_cf&__Azne&c...- )ii i*,,
                   /" e medic         v e -6-01 and 6i - '' t - #
                        rs        €, (Fill,r iveled 741-e sq,,,,e9„,che.i/esie_.
                    y 'ilt71/     - .-    b4// zt.       I/        -Je1 c,14;r4
                  /4a4e_6_0_,SeACe as 2--- 441 Wel-71.-Ae .1/..i evApr6e. aier6041-
                   aft i Ssue- lined had eeii 06ti1ect. Oh '  .& Ad .- /' 3L,..Ifv_67._
   (7) 1 -7.--- 54.2_62Aa_bre,Africe—arineetill±6iy.
         -/A€ .s‘vile kscie-J ea4d ociL
                                      _Agl_9_A-4?' all/r-74
         Al 1)- .o/ exe_yeciaCci-e,/eiT_cid/4/0.1 71) A
         dekreidAza24_                _adify Ae n&a/144 56
                                     _i                  . 09_5
         /9-cloici/  r aZeck/ who hx.s 4of-examtneccoe 8/'
/se,r.,,
         ilOs a ri,u4ahove 6in                   RAJ.
                                       6n. 9/2K/14— ,Z- _,L4,3           i
_c_gt   &tiyfyi               A - thedreAl A0/2edo/ 4)0/- daimi.:         s—
                  C.3     --i- cdtis7___Aem cJec
                                               (    over ..ti -&4 Z-,Q
                      bc chelth__Lsk ,           s'        _..c--- )
                                                                   ,J40.1
              -A      a kick_oLhaY_OL_waas___“14,a_SucHt                           liticei____,

                                             e(Z7)W(Lisb)
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 32 of 45




      Ino 46 to Le6r/1 A l lrOk-n(i gOe 9/30A;2— d,2
      .51) On rtillig06- cc);/"A Zio_iy0/16_,_.--)
                                                 4-
      it atiofile/;   ii illiolifOlbroi16, 7 c)0/4-- af141 /2eceaoli/See
        7±40/.5,164j
         14          H-k_Ajp_egs_r_weg& dmid -eiul ad,e 6n
         'MX     2'A c40
              A,4:      /6 44LiA)  No fesrvo/vse, -,7-7-1-Aen
       A 4 -4)         (3 ...3a6,„ L___/Lez..57/10sf/f,i(4-6-e 60_7:
      606)ktLcm6i icie.            ca8.7
                                    '    010/6 ._____e/-..ve.sfoon..ke7
      6S-_-__4(20Ar 4. 4....,     141C0,1419 S6 611                    /---   -.4

      iat€/IA                     ,,J C
                                      - e       I°   r`Ht /1/0 /e-j 01/        A____

(73           Oil /4
                   11              41
                            MAY_____frri?C
                                         ) /(
                                            0   ‘1.- /OLOL 1,1   et9,treG/a,it'
       ctifi-Ht Ae YA,4M eil 7t-..i             hae4,feykx.isly lac-fit
                  k--        ” arbt!,`,,.)       Z‘ei/aele '  si'aiicr site
            44_i_e_StoVed__±.1 ; a, sick ea V., ,Z. hal
     em4.11_aticl c,ciio l- e Comm_ks;_o_Aeti_ain4, aricl
     QL,t.tfileicsi4 ()PA, fc,J,L_e_f,4_42_,jazz_ek_e_d_c_
      , he So 64i/filed ele___& eve sui,9eLra_aa_ty,&64-- eye -
 -N.) 0__a_acjik 5at2A44/.5deizagz.x.e_a.6cice mi,
                                                                         ,
        (dt(lli_            4?                  eLLZ____6
        y____Suify_ty tkoff• --'-4 -' - Oil 61c1-. ,e,/z, ,61/4-.
     .. hoJ___cid_avaci az_3(                        i,A   LI    /        exe
         61 ,uer_al_pos--1--_,51)(9e,fr ,..116;/&a.)-ups/741-e
      c4s/- be;1. Ie_PLay  -             •____/     i'l 6iiki;CA /A e .exe

               - 4 i6.-ErAd ì 4 Eivf .-‘44--4 3 tt 5i-ede 1- ,edevef
        ,-.   10   po5i--__cyil dem--61fr,dockote,ie(teizt-)

                                Pa..9-e(
                                       'R°9          *)
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 33 of 45




( )'-rhii c,tots
 76             ,      dr _oseet hy Dydsed0456.7401-/ee/.Ak,Re- &4,4`J. AO-
     6d,411741c4, ftly_tiO3" ey_e_i,:.d4.5 a/Waled 4,- ..Scei           aiso 4-nel
     4skel ,64i 6;c/A r wottfire:-I i-cp-,do .ri2s1,-,741 .R466-bp cf:4ipw_
   \ worit 01(,7: 114e lerfeye-,0i lhe-1/4,ceduracd- ..4v,--7 00 ,r-i'y
(7C) .Z- -,)(52e,-/-11;€ .:4e.,.e/y__em.-/fre:',',/-i-3 k--                -56ii
          ke     kid. 6. COACeaddifini     Add Cocfa'scic e;ikeif-.4"))//i- 71Xerit
           40 3tAlte ilif.e i,.41/1. 17 ,.er-.,46', it) l?ii./.11060, as ,:14/4 AO.46, Cr
          Cif). - ,6-ozd_v. andel.,. - ey ..iti:-,i 4-herkei 4_0_,,_,0,1
          1111 II, 1-te: cAllii ,7          ,4         ers ,Co#hod .-cof yficairavl
        . r Ciod'Goiciods • ail_                        5 _c               s. ladaiik_
            iociPit._-11D,        fa - I          / ./keii.LIA/. 5Ile_g________,,
          fr....11e,‘ IJork-ok,-,e;Ilver.
                    ci de                        ,t ,,-±_64e g te4c/7
                                              ___±..h
          40.d._,:thEL.11e.,_-__rtiaLLAilet1 44.eceve 404_ArilL.6/e
          --tARin .44es 40 7k/hey i).. 4demi-d_c_ gar,y ,eip_si
          an Zilut' -4-Acjou_a_i-6.___*_e- ,-.116 biely*_aJ__Aii:
               , 17c .aa C.0;'s ,‘6v:fgazIL.fzi.c1 II740/e- . -ct.i ild -_.h e
          I
          .AlJAK__44 d fAe7 z /aahdref_.i,,:y.4ce,,..6.,:(.?'7Aey_L6--ex.94A 211e
          .6.0xk -.A__,Sidai ,H,C,11, 97.et(414ts_9cioe-zil-,.         aiz--4-
          Y' _iv-c l'-e) '' Prie—        '• 4)    .-6.))44)-6-tio 44A eL._./.4d-
            ups       hit.410er. 45 ,/417         '14'/'           4:4.41A
            4ive,             ffo-v;eler,'At n,eicf.dol1 Z7, we '
           C1-1Apt-]'.+0 ..3ze ,l.e_Lhid.:_c4] yo t _: . -, -           ;ci
    (,_77) -P coatAlcUlikve. r            „.4. , _ . ij_IP-4Ael--,
    ‘./?0      1 -          A     i ',..     r;e1(411          414      iS .C)n (


           MA&A /136A a01_1_,A,            cazinede         izzriGLw
                                               \
                         .. .--
                        .,,.
                 Case 2:20-cv-00007-WKW-CSC   Document 1 Filed 01/06/20 Page 34 of 45




    (791)          VelL..1- cox_ down cglici-A(,__,514(4,5.__ciALL,E.a.ifiere.dozo. -
                                         i icg__Cdi___(‘AL4/4"-i
             ill bcti-A eidSZLOukLA__4_,_ce
     f       ovilec_CEA;a8)4J) 6AzAl7;7Ae -A 1'5*(UM 011,AthZ
       ''__.)4       1-- .iii0/1:0_/tolotied CO_IM A,    ,i- -414.,ice 6.14 diy     /frhis /eGre
                                                                                  -5;
 (e.a(q 4-tIge,           a el oi&x,i-t Catitecta- sufje,V 5_ckeel(41;h
                                                                     ,
                                                                     :  707                           ____
 /. (   81
         )       Weil 7 dihj e'/ fe5#±31- 13-Su6,1444e1 a
(E/4/-4-jx)PleefiLixtrj4ALA&,-t- affeAl Oil         Aboiz
   ck;_:_i T 54u) De‘IJAALChadie__151'1et z" rid_ve Ai s)-
            goii, 5he fefa5ed -tied-meetI--; 7% 3,/ea,1/) .c7%ils.
              r) .5C-I /14;i & Cakeye•/- seA edidco

        3)           7`hein .5‘4411           -61. sieck_c_d/ .)fek,,l,Lie‘),,
              5    6711(2/7___Addie_s.51, Ae eiv ;Afeci/a/Ls -
    (15#S.1            m;lied a second sidz- cd/ (EY/41(0-'F- %/4
                    i _1()/    adeliesc;" Ae gaeieidix-tf-
    (K)            SchirLed14.,k___,dyi-rucale.sto a/7_ A0/..2.047_6„                   /es...5;45,
                      - etv_idedi,its 41E.Ai-loi.Y 6)
         1   sut,hitli-ei A. mediedyle,i/
  ai, ,i , aide.             eai;fre-ect;on5 ioelc,iiecta
                                                          La       _30/3ga
                                                                      , Ad -
                            h                            fiy -6
                                                              'i'7/
                                                                  4e. ,

,    07             4 fii:-i__&L(A_Mae4(itl&I/444.-e blye4.1 6h /4%.2AI077
(6k4_1-       aoldfe-ss ;n9 J'he     eaf Jr/lac:601S anci Catit-i6L6f,ca✓ effy--tkACt,
     at) OA bAigd-,/_ohf,/,20/77,weiri-- -b____cagy,6,,,,h. c 4,
        cal/ ed ovesi_____(25J-44-.‘04_/1,6(.1.4 Aild 54440,1 .564-1
(New          b)4 S&ked cl_le_i____The‘_,_#f_z_ 64_i_7,:d..4__ __,/ifk,..)0/7
       gn     (Aka W.4i.d. IhArl ags add/e_š_; Ae ew (14-Ced-iokts/

                                       pay_e           L(L))'-i'
       Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 35 of 45




                 4e.)1--,Sul:,     5chedii11          6,1.d . A,. resr0,-26.e
       -h / 14             J.4:_d/__aip ri).es;,1c,-e 0z9//e6/ 7/1c,e'i /1-
                        _.      ,0bey f,/,.fo/7.. -No . ieestionse ,
                               c)-
                Gtkole 01eCe-fri dertiA. . Cont .'it -4111ecliczt. Crrytivili'3_606/
         .;* - • /A               ISSOC,C;,o5ioktev AAA/                < /c4
                                                                       6g
        a.1:,&a:/- CA Nn Chevte t‘ih I (oci //SP, infahele . Ce.yec•—
 _            daft' 4 i ille;t beA40;0/ 6leid /7011/9/00'40                3
      /.1) ecli,c,iiteil,                                      ed 27'.-/5/50
      ike_Cdtif                    ty       ede,41/""/".074al up cii-,,lePi
     ._aild ette . ;/) el-eons,     '     'I -. occ/Aryed at7 Or:26_,
     ...)..gt'")00)7 . ' - ,-              l     ,   I   t   t   ,-.




ell)
           fr
            t.'
              .X J;6/h       ot )1ye I r5 - .w())‘__pr'. it7 4:4„&viditrklis
        Ape , corlii‘ , co i It , S   A:0*i ;5 ir)Akny c0fi'es o-E -
       -them --biol.")) - A;-5 .5i-efoldteje a‘weii--,- o‘L4pLy yireafrtoef
      And/Of 5!     ( ,k / , à'a ,4-fA f ',1 l'hasi_e4.'{_a±o±azei_Aazi-
       &di iii•Pet;fialia_w_f_cti .10                      to&-ferte4fr
     A An All&ICil1045 411d 6r.2.01-t.- ockr - ,41,1e ,(cows-/e4.7.
     __;:-A_ Ah_cr*Lirc. IwintcLeitill• 46 47€4-hop., . .- ,-           __
                                         . .1, , , . ., 4.
               ,              ,           .. .
                     . ,, . . :                . . . ,,. .;.
                                              , ..             ._
                                                                 -- -

                          re,,9e(3h er &0)
      Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 36 of 45




                               - C.kjiyiS         , ,,
                                                           '.p,
0 The . Pkti.p A f Le- Ovij.LlicijAkexieL. 4              _( - AiAge-, afice
     pova,_           -1--(111;
                  .
43) pc--(endAd--Dam SA6u>eit.deS.6e41-02,-Adi egc.efivezi
    he -(ocl 4-J. ID tey0/0 -iv. ony-,/e#00:Sa),--AgaL1,0 ,a47-4
    *Ilt kalli.tir.              ,,ge,,,, .cooks ..0            :50LL6
  _aLdi±eill_                e 55.-- ajzil.,e/164              aAhed-
                 ril )//nfros4 ' ezatisez__:             =hi" tlf •
   tio1-1114✓ •WitAit_fxsiíicotiiit24::0)a6_.,,a4d                  iozd,:60.0_
  __Loa it via /dim d
            I                          loc a'ey 4fici ce4ces.-
    1-1-e: ir_..__4,12;0; c_LAcorhoi;5.s,i-ei( a,ft - hoL-5 ,ot. fici/:
      li_j_is5,..)hie*AIL:iietiefeS    /eCelli:e' _yel_AarcAZ6VC


q111)-1                  11,        c_e4,'‘41,1ELCA444frifilell_OlieI      _71 9
     616.4_hai.5__k_Clifil .+11b4:- Aill - 14MA6-. aze "red-               #
     '
          1111FAtact_r_e_Cei_0414201
     - 1;1:                          irectit4 sc&fr,„_..512e '
                                                             Ikiar
     rezsp 0)61 +0 pl1/41 fef+e•rliqui-__Lwo.&. ia_tkilta_Aeld
     6r-te;fi(.,.. S‘,4A414,,mizid- . - .(.44 - ;"&d,71.-..4
    4,.-.- co-f;,,,,d4c,-'.1 , ,, ,- aiy_e_s..___.co-
    fe-r&ks;p5__m e          eftL.__taA__r,A(,_/:hsn ;4 ..1.o-11
    ,_-, himire___44.,40: l. ed, Ae,4.e.)0 k#eis 7%1 yet.4//
     te9rdia_Ay_asiidetLLcitiety_akt,_/**____Te et4,1 /-ile
    le        . sitirty kiemiA       /t, live                      C)41"jiel,


                           lz.,.     31)c›-T(Yol
                 Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 37 of 45




__Ccilf)(9    Le-ri'e caiAJ my eye r            hits dim Als-hel.
                                                      ht


             a_G i l eiee.5-4g pfeefitce irl- 442nail 1,7 Fchtaevy -Qcy-7
                   walte hey /e4-et_c 1 cik91 Atviti_csae a:4,1?
             0 fril;5 ,ear ca0/?), ile-.              el' ie. °Ad k Aeni,
                311e; eka4-ii, (4):-Hi vc(e,4er-d-fAci-1*46‘egie /I/.
             a'`6e,r_Lovt.5 aed;_cal ii& ii-teil i'fri Noveinber 49,0,./k/
             +111i, year. Sive ;5 tetibT runfmuirve, due h trze:yolikid- eid,:.

        ''         -1 . 4 ,t0   - >-±e, 11,1e illetlicid ,c±boa4:intc    C /;z-bt,
                 5.i7. -ii,-ii- Plealce_bj/ -794 548e iritfoziout±ia       -L9.44N-a-5
                 acidieM CiorS --hte_Teh4e4LSee adkeatlet_iii
                         ira/245            .114_&/24:_itik_____AifrAir43,Zigfikai94.
                     4'
                      K ':"5146ieje



      V      f      -
                    ..Luor_o_u____(Ade&filAry G.v4:5         1_61,4cd,em
                 :LbtareerAck&l:01Aktr--ti,cd(4-        _AZ/de  , ' at
                      11)Qr3C011,1_161ity ai'l le_Cpy_ordL.., iira4/Ait, 5
                 " /.4M           10-44_4(44(9402 oi_:_crl‘a,;(4/_6______
                                A. •         i       fe.>           /.I,
                  ,,77.;%‘,,   1        -___Aoc ra#351 1 ti-Ailto aLarezcii:
                  Skle did tusT re               fri           •. 4


                 AS a        '   Clerk 6-wier tibaiy Cleirk_t_th,ki-
                  h +he - s,- , c>uad 4- .eid‘J--/po:&__m_Zior
                     .ev__:-__.1-0 516,40/1_,LF /-4,cu, awl 4e ..A./ 4--frie
                 problem u)6,5,io Mu grou.)/eds,e,,,sine J(`4 ,,,,r,
                                           1
                                     pe,,cpi-,3•Lof_-_("vo
          Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 38 of 45




        ,-) --CA N
                 ±P, Ckitil'e         W./A..24„s'. ev /he Icaf
          cwe fietadw_ciii- ioavei___CA a-Ger               ic(.2i_ he, *
         6L-Sirio4c--___MeaCctil Aeeci 0111.e-a 1` us)-a6 0 /4 -fi <he
         reitsitrsec' it Yrearf ire' iLaLty s    n oLlfasivere ,_Sh,c,64,4(4/
          have scitcduteci Ate 71r. Gave 70    1 Svacii..c, -, -6.4/
         a call*e cicoe okt 60'4 cotes-akIJ aho ,reieoei ,_ ,
        Lille -/t) llit, Pothr cv (ni- .' Aiid .Roolvii &Jai
         It., itt___1614ezson hid'                        ;ffrecgm j)ei
             t,:iie.tAt4 1_,4._aireAe/y. -0eiez,t5 targ cab eilisb_lfr
                - Atot, i_n_144._ .0'4)4     66.1.1å ke._iredi 1/ AP1-atta,2vie
(0) 71e            Air - ,
                         .t ---4.1- APE_ 1
                                         ,164.dailnee,S___Ad             .42e__Ag
         r •/dee(Afecif A• jd      by bo/4 i-he/),-;‘)/ __&.6"01
         doc_
          ,                         i wed/rms 71-0' f IL se
         LS              eiwve-k) )ine c;r4ais . .- .., e ,
    ._                       't 0          WeLhalt. i 0 Ls_was
       et ,. ..ii            ed.Loit              "#        e      )1 if
        wr ' JeLirilmA )               .
                                        "         0‘)o- 'Ile 1rge
        4= Itiili-- i/1,,kc,Koi& duco          c„iid' =_Litc.c..e.56a544
                         , Á            bhz4A/t. / "cia6=ijkjiiefii
        / -. .___(,•iyuli' -i-A. &pat- sid) ;&i-i. Avvi_e„Laog.
       z_ki6,.,,je
                 _ s4,,,, ,,ji, A4    (,1 ,)iti/12/Je4i i7ibi dv/V 4/4&g
    \ h-f&J -ib' ioudid6te. YkS'e t)eits,                      ' ,
(/60) "thaA selyz_s_:_-4/4/11 4,01.J/4&/•)a/Y-4.coir
         Seirj, c,e5 fithA)/4744).i
                                 . CA       eay il aie3r____d__e,__acvir
                               e
                             ii a411   '        9)eL__0A,,A,
                                             e115.
                                                 ',                            07,4e.
                                                                                   ,
                               '     sye(50-oz4_649 1 '
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 39 of 45




  600 ID haAcIred 1?-e rjevedices p/fro( /o try
     gehi9                    didA, Vzi weze akte-i-
      -fittcotici- ;.59.,re, iNAZ    _5, pcfrk_mote, zotiet-26--
     -6 61,604kinewckski7 5 .hazed_ae
                                   .             _C6ez.,0_26e___
         `Klicliqeleoce .,Ay r&tiL, "cutio6SS___                      5/C/k Ceuds
            Lgir,._971e-aeve-e goig                 ke-----clei -CA
         , Dl_d_ ote-d_lf•he itealletit_dh.,41 CA6         W4C-6
         ttri.4] S__I-,_c_i_cill1;GifLAJIVLC/OWL;44:e___Adi jj
         CIAL,Stle_c i           . iitieti &Ly._,//a/edie"i0 444
         5JC/4 CidILChei_e_.-11S       cl-)Ay ‘ke Wect5,
                                                       ,OlacalkZe
       CY/1"1     serlaceio-pl .i._/ 4                    Ag    /-
                                                                              ,-
   )
  1t                   -e4C4(-1 6-Eir         d C41Wivil6-.1e,e
              ni-tMeLlkAL/ledhe CA/ , t,tsLtl ieve-62'   7;;°' 5aL4
            /               -
                           46"
                ?c6ISS 6/1-1     ,____AVEIC6ieet(i7 lite-Gil
          A .        e4,61_4
                           (94174ci_Olyy/e-vitAc&-if Le"'#//11
                    c 14(d_cm_ApAlt6eit 3/5
                                         ;  016/7

__O)a)       hfitilitP fe6eivr       . Ale /9
      Com,L14y-6. ata derepho4±s_;-it Ae_445 )i4ta
        c41 ii:_t_aol, )dke tizJok_crief&I [ki Aitzi_e4tty
         b -11te hi:ad/1 fitk4;:en, ;frt Peceilicke/ z°7-7 44t-4;:5),,
        • alA)        , ati-e--01 1±16j!r&il ;
                 --1.4r
             ----(                            11`red/lern 6144 lAc/990:ede

       Ailtd i ,-i • 1--) -              fl-Ae/ becedj   se Ae,_=h6t,ts  4j
       ii,,__c_eyi-- ,c7&
                        t           ciedw4)- ____:&-idi4 ;           e (Lk
                                                                       ,
       do-LAis initeidas boAi LA (,6_,k4 r,,,,f - /,                          §y_...4,
                                          _07c6tb.)
                                    3
            Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 40 of 45



                                                        ,
           clielS dwe --io erk&-a/NA4,4, c _rtc.,&i frt.51-606,e51
          reyki-ruffvela,                    161 * CP_.5161 6e„ thacedt
            6eez,,,,,5e,,i- h15 meginlca           ,,76 clitw tive
                  s (;- .(251-1c-,ei ayid_6e-A 4 me 41, ,,, c/he
         _Mac,i1 Acce_succe_sel41- .----• ----=-=-7----------.---.--T-- -- A* - diwehigy
         _d___‘covery‘ ek lAit.ii /041/174/P"         A   fid
                                                            - -e,
  (ion         pizifri'kliAfif24y(zes_18/-..--Ae- .5cii.4/1-c4 HO      -- (Lei:124
                                                                     (i5-
          15 ;h:H115)1 Ckie(CAI e//045 tilliirli                   f 3 '45
         /le 44(.6 AZ 91k4- ott* a724s 54/0r1 hei/e hð_ -,efiren(
         Ca,act,ili (.5 ISCiam6fed_La4J '4,0;_ a://orAe, 44,exid c_(Jy)--e_S-
          IVs i 5sci,e6Se., eAchseL arm.Af 62./AreL.;

( b C;                    4/- tz4) i Ak_keiLe(                 ,
                                                           ,
               W4efek/     34tirfrogre-revecitQ, 1)                 . ii-hi
          _CL21/0" eiTi-ev   ±-_,,,;       ';"-:-.

  U-0             aAhiltej-LaitioiAL h          4   60, om                    'il-   e
         ,__ack.‘ iciAlL0,44_;$64)3 de_56/6.- leee;'11 ih'olik
           rgni3 (40.;leit like mi 6 - 4- iLf    0)49L7-`1764             a.._d
            Jilt /mos tyi- Ave MoiieJ _S7'a- ri-askavid

  60S         ,Gavedin , , 1 ii,h Ae litifriati c-f-wwil,s4i,iory
                                 I'



          44(?)1A) ga                         e it-5bi
                                     a,,iti___f
          ___LIZa464a_i_LILCio_ot_si:jeAA__Leeafr,
                                      pkyeigl_of fto)
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 41 of 45




 0 q)       GrAi4i4 /Ile 1)  //,lith-ete Ck Aoi 60/.1,064'
               -e6 ich Ac ambttiold $760,i_o_vo Apiels1---
        dere#444A 4,0,0/0, Gpielfil%ssulia,-764,63112(0, 014/1.60
        id ahlre"Lt_Ltxizoo ,Me_i_a ./i/zi/ee M6heir
                  s     4gi -• ti akvg seveia,4,
                           -4
6/1)         Gy6Ai /9/6uktAyi cher44016500t, ajet,.)1_
         ail dereAveris_;_n pc-tehlitic dcw_iajesijoidi-ly
        A.18.k.šederally,

77U)           G/441         haitAir IlAluitiive- froild Aleil-
        14# hlo icy cf.)Ama:_,,Lcohlt_f_ael 415 ,CC__Z'S'i Comehis ialleil
        iopAJ lAketYci weeN) sueccb4-4166,     3 fAe%   akkessc,tcce_se,
         Nedili sa.,4.428                 /161        /ed /4.00e,-5 (4cie_lal
                                                                    -
         -/--h    idiso,c     (   c0 -         2 w defeA44f- 61i/s
          41-me ark_04/Yerlfrftlec//401fr4SAv A/4a6 euc 714e7
           kwid Ike cc/gem,- MeikAl Co4-Acel afCoo: 49'
         ii- (44. 4pdaill,czoi4
411,2            0 hohLo,dii,,,,Nee ;4 1a
                                        l ,/1It
                                              ed___6/*6C-1//1f

        -6)i the• dual/a4 el N5 eifiem.41,e2_todis,h6kfic
                                                             2 t/



        Lii*___alt_reigiie IsY‘zek,1arkVai--//efre A.40.6, sie,-;vrily
        prt'Yotti& Seata aivelk
                        ,                 4,44.,ixkoi4 etyy- icae4,_fr
                                      ►
        1-1.C. t,l, 1 iheefic412kservcdiouonlii ir lite due-atiiPI
        of hk Sfote_A& a /0" 4.4 Shim k opeA -
                   frA) --7. __IyL&O)
           Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 42 of 45




_61.3)__XIC±a11.61chscs
             .-                                   4kty /re/Ake/ eh ipsum                          ,
       h&c . ophfcm 0..'-' -                  OSil     Gt, 4
                                                           'efikt6ediffeilA



0  '4)                             jv(ee-tuod me/die,ed ceves oilteo-
                      3-:frie i-ciit. tdkai,7,„/".6e-/0/6-ii/dec(4
          Ca&e,ti- Medii_zylidieg
          ,ii& L,1;11 Lee,e‘oui-'60
                                  . ,4 medial                    vidP,F(coll
                                                                           ,
                                                                           ,ca,skelcd
         _ijiie,s< he.eee/k. -Ae 4e' i---see.,--Oe car:led Isib.,,,,,
                lie0)11_4&)6c,)      e                eivegor. 4,,____ c
                                                                       , cia&a.i)
          Al.exlicizw,j_CLCA, 0)thhe,eri- ek.-a-64_,,e#        4,0419wwfrEs,
             -A,e- .wil-,      Awige,14 d_454Wkifr /1)0 CA)P`Al
               CA         ile also 601/00/- 6& 5,44) .4i-/0 66-
            of         Xi Lik eks'/Vs ,:,'_,-4.,04
                                                /141   ,e /eine.            *
           Ano,ca
             ifik.2iLozeci,4,/,,, 0                      6c 5e,/,#,4971z,

         6y deetida                ivaikey j
                                           r(/      j5j1 ,e:Ve/ay   /146W' •

          i5 u);41A/LAAJ               Citse, 0      At 'e- S         r   A°



              _e___   -'"""Tf_Ct<tig     ent lhai- i5 -a.-       ecceir&'
                   -,iiiI kelp li, 5e*me4/-      :  cat:taekAW4tA •
            i046 , coALAa.a//i4dL4/6 A_umAc.,/e. &Atilt
           ;/1 l'AtiviAillY, 777.7XLicio'ic-i-(.6.__ffeied . "z
           IlikEle_orre_..cid-ei ‘u -a_49e_ LE(     e be-,52'- eki _6i-- -0' --/-         - ='-
         _ Lo;.-/-4 , 4,-/i kgihrey)/rAk; / 1;rA .12 / i i                          ,ti
                     4 .:.;','';'; Awl" emed- w    be, ,- 044 M-07e4rieddt-
                                            .
                                             .  of
        Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 43 of 45




(1:(      AdJ;-/. (=. ad! 1 Ae CleGlifr /4//6/ 566/56/7 0/1-      /444let-'S
         t_e_ti -ey_e___os-t-v /kilt reekii4L-6 be ilzotei i'< -IG
                       ___Lie__Coct Suiyee---y___evt like
       _to_a_dor_e_a.-74-
        ri_o_ y__,..zif                   "e Cort/e
                               e doe 41-----     ,."Ly
        /3/. 54,&AS-F:6" lie705;fik,
((r) P_Ar fct A 5 ///) MIimA7        5(/_(//kLaLte:_p_i%
         7L-C
            ti_4016v e ire /-64;
(1 l c6       P/alytig 5ee/6$ a '      . 76red
                                      4,itx         G1 ' -
    -717,6igle_____b_0(4,
01)) PITA;,4r ,yett5 feczvety 0(hi/5 Ca5-1-5
         ii/i Afs SolliAcLec1119 6,44--j2d-blfif)
                                                f- -(1           e_4/ jai/
         rouzi:LoSi-
                   5 4_____fee4


//A        P-41/1/1(4 See/Cs     4,av6LLeel:ne. 74Ad
        Co,,,,, ctoefit5 5c2 siiprlor aW/0/ e_)?iciActk.,

       ii),A/Loal /-2/a3/c,
                                                 -eJ,1-      r        64t/727/-
                                       .4 /:/ fr',.
                                       ac‘Act.e( c4?-7,01,;1
                                      Al-;_iAD 7/0?       /1,0L-,F-&9
                                                                    4
                                     % -//oVate C-J
                                     3c;20 etzl=q,ik_r/ly                         i
                                     Z----,- M7o/e,/9Z- 3ieza-c23--

                            et, '( '') oi_600.
         Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 44 of 45




                   - Yer;11
                        '    c64,(
                                 - -;1}Y),
Oa               Aaue reou4               61.50i44 1.3/11 4/111" a•Ic/
         here 6 v                   Ae na#e;s 96e1 /14,         ee

         are -1-aue      irt6‘(i )ecetoil as /41.4-#6 a `e-‘
              ;401/14,fiat_ayt,c/ be/ielr, aifra 45 46              0-Se1-T
                                              Ini`e 644      -PAC/I-let 7, 2-
          eth_      _61   er                 oir-10efjacy            41- 74
                                                                          1-
                  A,01.            rae    arid Cot/&i---,6,     -/-4e
                                e 44rei               G-5eee_a46.1            Z79-Tore
         cfoi(dle.)./z.dAc.;h4
                   ,                       4,1Le,e,4)34.20


                                    0-( cv,c‘e
       :--r ,ei
7‘,22) .,   A e4 _ 7 Cerierf .Z h4L,ve steyve ‹,,-/r6.( ,,,oil
         .49:44i cf O'r is _§riM peaeklitil9.11y                         ,)
       _e_#oitt _15)7;d-- CoiAlc/- Cied-bi___Aba4c1I, eiv 7                0
                                                                           -
          </ism(' daIs_ mai!*1_, vio. 1-he ¿z S. "..71 i s21-
          labS o     e fop,:d       i .,011/0,k;
                             ,._ 6.14,         .1, .A,-_ '    ;1 A_cce
                                                         .II_c.i...6,„x__,   /'
                     r v,-/̀Ac i'7 ii-- Di46485)7-Ae
         ckl-er itio      cud 6e_s_eiked .6v 6.6.1 -St4/08.1c9_46 .
          D.411;5         Day .6.4' PeCeiki ,ie 3/.c/ ..0/5',.



                                                                  cto
                           rle(0
                               4            z/O3e
                                                                     {
                                                                     c
                                                                     i
                                                                     ~
                                                                     ~
Case 2:20-cv-00007-WKW-CSC Document 1 Filed 01/06/20 Page 45 of 45
